Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 1 of 107 PageID: 148




                        EXHIBIT A
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 1 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 2 of 107 PageID: 149




 Yongmoon Kim (NJ Atty. ID #026122011)
 KIM LAW FIRM LLC
 411 Hackensack Avenue, Suite 701
 Hackensack, New Jersey 07601
 Tel. & Fax (201) 273-7117
 Attorneys for Plaintiff


 LESROY E. BROWNE, on behalf of himself and those
 similarly situated,                                          SUPERIOR COURT OF NEW JERSEY
                                                              LAW DIVISION: HUDSON COUNTY
        Plaintiff,
                            vs.                                         Civil Action
 NATIONAL COLLEGIATE STUDENT LOAN TRUST
 A/K/A NATIONAL COLLEGIATE MASTER
                                                                  Docket No. HUD-L-1598-21
 STUDENT LOAN TRUST I; NATIONAL
 COLLEGIATE STUDENT LOAN TRUST 2003-1;
 NATIONAL COLLEGIATE STUDENT LOAN TRUST                       FIRST AMENDED CLASS ACTION
 2004-1; NATIONAL COLLEGIATE STUDENT LOAN                     COMPLAINT and JURY DEMAND
 TRUST 2004-2; NATIONAL COLLEGIATE STUDENT
 LOAN TRUST 2005-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2005-2; NATIONAL
 COLLEGIATE STUDENT LOAN TRUST 2005-3;
 NATIONAL COLLEGIATE STUDENT LOAN TRUST
 2006-1; NATIONAL COLLEGIATE STUDENT LOAN
 TRUST 2006-2; NATIONAL COLLEGIATE STUDENT
 LOAN TRUST 2006-3; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2006-4; NATIONAL
 COLLEGIATE STUDENT LOAN TRUST 2007-1;
 NATIONAL COLLEGIATE STUDENT LOAN TRUST
 2007-2; NATIONAL COLLEGIATE STUDENT LOAN
 TRUST 2007-3 AND NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2007-4; WILMINGTON
 TRUST COMPANY AS TRUSTEE FOR NATIONAL
 COLLEGIATE STUDENT LOAN TRUST; U.S. BANK,
 N.A. IN ITS ROLE AS SPECIAL SERVICER FOR THE
 NATIONAL COLLEGIATE STUDENT LOAN TRUST;
 TRANSWORLD SYSTEMS, INC.; and JOHN DOES 1
 to 15; and a class of Defendants similarly situated to the
 Defendant, National Collegiate Student Loan Trust.

        Defendants.




                                               Page 1 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 2 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 3 of 107 PageID: 150




                                     1.     NATURE OF THE CASE

        1.      Plaintiff Lesroy E. Browne (“Browne”) made payments to American Education

 Services (“AES”) because it claimed to be entitled to collect the payments due under a student loan

 that he obtained from Chase Bank. While Browne previously took AES at its word, he later asked

 AES, in writing, to provide specific information concerning the loan including who is the “current

 creditor” of the loan. Browne had to ask because in prior communications AES never identified any

 specific entity other than stating that “NCT” was the owner of his loan and privacy disclosure

 notices sent to him referenced “NCSLT” that asked “WHAT DOES NCSLT DO WITH YOUR

 PERSONAL INFORMATION?” Also, AES, when reporting the loan to a consumer reporting

 agency, lists “AES/NCT” as the creditor owed money.

        2.       Despite his direct question, AES did not provide a specific answer to his specific

 question about who was the “current creditor” of the Chase loan. The account history provided by

 AES again only stated that “NCT” was the owner of the loan. AES did not provide any documents at

 all to show that "NCT” owned the loan. As explained more fully below, AES’s failure to provide

 documents was not some oversight but because AES has no documents to show any assignment of

 Browne’s Chase Loan to “NCT.”

        3.      The references to NCT or NCSLT by AES appears to be a generic reference to 15

 statutory trusts that include “National Collegiate Student Loan Trust” in their names. Since AES

 refused to identify which of these specific entities allegedly owned his Chase loan, Browne has been

 forced to name all 15 of the statutory trusts as defendants in this action (collectively referred to as

 the “NCT Trusts”1) since contrary to AES’s representations that it was representing and collecting



        1
         The fifteen trusts are: National Collegiate Student Loan Trust a/k/a National Collegiate
 Student Loan Master Trust I, National Collegiate Student Loan Trust 2003-1, National Collegiate



                                               Page 2 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 3 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 4 of 107 PageID: 151




 on behalf of the owner of his Chase Loan, Browne now believes that AES’s statements were not

 accurate—it was not collecting for an owner of his Chase Loan and none of the 15 statutory trusts

 can prove that they are assignees of his Chase Loan.

           4.    This is a putative class action arising from the Defendants’2 coordinated efforts to

 enforce consumer debts that are allegedly unlawfully acquired by one or more of the Defendant NCT

 Trusts. It is not a question of which NCT Trust may be owed because Browne alleges that none of

 the NCT Trusts can prove that they are assignees of his Chase Loan and therefore Browne is entitled

 to recover the amounts he paid on the loans to AES as the servicer for the NCT Trusts and other

 relief.

           5.   Browne also claims that even if any of the NCT Trusts were able to prove their

 assignee status, none had the right to collect from him since none first obtained a license to engage

 in business as a consumer lender or sales finance company, as required by the New Jersey Consumer

 Finance Licensing Act (CFLA), at N.J.S.A. 17:11C-3

           6.   The collection efforts by the Defendants, directly or indirectly, make use of

 communications through statements of fact or affidavits that claim to be based on personal

 knowledge when they are not and the submission of documents that are not part of the original

 documents that are presented.



 Student Loan Trust 2004-1, National Collegiate Student Loan Trust 2004-2, National Collegiate
 Student Loan Trust 2005-1, National Collegiate Student Loan Trust 2005-2, National Collegiate
 Student Loan Trust 2005-3, National Collegiate Student Loan Trust 2006-1, National Collegiate
 Student Loan Trust 2006-2, National Collegiate Student Loan Trust 2006-3, National Collegiate
 Student Loan Trust 2006-4, National Collegiate Student Loan Trust 2007-1, National Collegiate
 Student Loan Trust 2007-2, National Collegiate Student Loan Trust 2007-3 and National Collegiate
 Student Loan Trust 2007-4.
           2
          All of the trusts have the same owners except one trust, National Collegiate Student Loan
 Trust 2003-1, which has one additional owner. See Corporate Disclosure in Browne v. National
 Collegiate Student Loan Trust, et al., No. 21-cv-11871-KM-MF (D.N.J.) at ECF No. 2.


                                              Page 3 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 4 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 5 of 107 PageID: 152




        7.      The methods used in the collection efforts described lead consumers, such as Browne,

 consumer reporting agencies and the courts to believe that the Defendant NCT Trusts, directly or

 indirectly, have the right to collect consumers debts when none of the Defendant NCT Trusts can

 prove their assignee status through competent and admissible evidence. The primary servicer used

 by the NCT Trusts is AES. Another servicer used by the NCT Trusts is Transworld Systems, Inc.

 (“TSI”), which is not licensed to service student loans in New Jersey.

        8.      Further, none of the NCT Trusts are properly licensed so if they did acquire the loan

 accounts, they became void and unenforceable as of the date the NCT Trusts allegedly took

 assignment of them, pursuant to the CFLA, at N.J.S.A. 17:11C-33(b).

        9.      As a result of the NCT Trusts inability to show that they have been assigned any

 specific student loans or as a result of the NCT Trusts’ unlicensed status, the collection efforts by the

 Defendants are neither valid nor enforceable claims to collect on any student loans, including

 Browne or any other New Jersey student loan borrower.

        10.     TSI’s unlicensed status adds an additional reason why the Defendants’ collection

 efforts are illegal and wrongful.

        11.     Plaintiff and the putative class members are New Jersey consumers against whom

 Defendants have unlawfully sought to enforce consumer debts.

        12.     Thus, Plaintiff brings this action on behalf of himself and a class of other New Jersey

 consumers whose consumer debts were (1) allegedly purchased by the NCT Trusts and the NCT

 Trusts cannot prove their assignee status; or (2) allegedly acquired by the NCT Trusts when they

 were unlicensed. They seek relief under the CFLA and the Consumer Fraud Act (CFA), including a

 declaratory judgment and injunctive relief that none of the NCT Trusts can prove their alleged

 assignee status and that the loan contracts are void and unenforceable, that any state court judgments




                                               Page 4 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 5 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 6 of 107 PageID: 153




 obtained on unlawful debts are unenforceable, and an injunction to enjoin any further attempts to

 enforce the Plaintiff and class members’ loans by the Defendants in this action or through agents of

 the Defendants.

        13.     Additionally, the Plaintiff seeks monetary damages on behalf of a subclass of

 consumers from whom Defendants collected any money on the debts for which they cannot prove

 their assignee status or collected any money on unenforceable consumer debts, including treble

 damages under the CFA, and disgorgement based on unjust enrichment.

        14.     The claims of Plaintiff and the proposed class and subclass are directly related to

 Defendants’ collection efforts.

        15.     The Rooker Feldman doctrine may not permit a federal court to provide the relief

 sought by Plaintiff individually and on behalf of the proposed class and subclass.

                                    2.    JURISDICTION & VENUE

        16.     Jurisdiction is proper since the acts complained of affected New Jersey residents and

 the activities were governed by applicable New Jersey law.

        17.     Venue is proper in Hudson County because Defendants regularly conduct business

 there, including the filing of collection actions against New Jersey residents.

                                            3.      PARTIES

        18.     Plaintiff, Lesroy E. Browne, is a natural person.

        19.     At all times relevant to this lawsuit, Plaintiff was a citizen of the State of New Jersey.

        20.     The “NCT Trusts” include National Collegiate Student Loan Master Trust a/k/a

 National Collegiate Student Loan Master Trust I, National Collegiate Student Loan Trust 2003-1,

 National Collegiate Student Loan Trust 2004-1, National Collegiate Student Loan Trust 2004-2,

 National Collegiate Student Loan Trust 2005-1, National Collegiate Student Loan Trust 2005-2,




                                                 Page 5 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 6 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 7 of 107 PageID: 154




 National Collegiate Student Loan Trust 2005-3, National Collegiate Student Loan Trust 2006-1,

 National Collegiate Student Loan Trust 2006-2, National Collegiate Student Loan Trust 2006-3,

 National Collegiate Student Loan Trust 2006-4, National Collegiate Student Loan Trust 2007-1,

 National Collegiate Student Loan Trust 2007-2, National Collegiate Student Loan Trust 2007-3, and

 National Collegiate Student Loan Trust 2007-4. The above are, upon information and belief, a

 Delaware statutory trust and its beneficiaries include NC Residuals Owners Trust, two unnamed

 foreign nationals, VCG Special Opportunities Master Fund Ltd. and VCG Securities LLC.3

        21.       The NCT Trusts are controlled and operated at the direction and control of certain

 Trustees.

        22.       The “Owner Trustee” is the Defendant Wilmington Trust Company (“Wilmington”).

 Wilmington’s role as Trustee is separate and apart from its consumer banking activities. As the

 “Owner Trustee” for the Trusts it acts solely on behalf of the investors who purchase offered notes

 or shares of the Trusts. To fulfill its role of Owner Trustee, it depends on collections being made of

 the student loans allegedly acquired by the NCT Trusts. Wilmington Trust Company is a wholly

 owned subsidiary of Manufacturers and Traders Trust Company (d/b/a/ M&T Bank), whose primary

 place of business is in Buffalo, New York.

        23.       The Special Servicing Trustee is the Defendant, U.S. Bank N.A. (“U.S. Bank”). U.S.

 Bank is a National Banking Association which does business in Hudson County, New Jersey. As

 Special Servicing Trustee its role is to manage collection of the loans allegedly acquired by the

 Defendant Trust and the other trusts. U.S. Bank’s role as Special Servicing Trustee is separate and

 apart from its consumer banking activities. To fulfill its role as Special Servicing Trustee, it must

 collect on the student loans allegedly acquired by the Defendant Trust and the other trusts. U.S.



        3
            See n.2.


                                               Page 6 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 7 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 8 of 107 PageID: 155




 Bank also serves as an Indenture Trustee and acts on behalf of certain note holders of the NCT

 Trusts. To fulfill its role of Indenture Trustee, it depends on collections being made of the student

 loans allegedly acquired by the NCT Trusts.

        24.     These Trustees in turn hire or retain the services of various entities including

 Turnstile Capital Management, LLC (“Turnstile”), TSI, GSS Data Services, Inc. (“GSS”) and AES.

        25.     Despite the retention of these parties by the Trustees, the Trustees are both

 contractually and legally responsible for actions taken to collect on the student loans allegedly

 acquired by the NCT Trusts and fulfilling their role is dependent on collecting on the student loans

 allegedly acquired.

        26.      Based on publicly available documents and information and belief, the NCT Trusts

 are separate entities but in reality, they are treated and operated as a single entity by the Defendants

 through the Trustees and persons hired or retained by the Trustees. The NCT Trusts use

 instrumentalities of interstate commerce, or the mails, and the principal purpose of its business is the

 collection of any debts.

        27.     Defendant Transworld Systems, Inc. (“TSI”) is a debt collector which acts directly at

 the direction and control of U.S. Bank as the Special Servicing Trustee for the NCT Trusts and is

 engaged in the business of a collection agency, using the mails and telephone to collect consumer

 debts allegedly owed to others. TSI is a corporation chartered under California law with offices at

 507 Prudential Road, Horsham, Penn., 19044. TSI does business in New Jersey, and its registered

 agent in New Jersey is CT Corporation System, 820 Bear Tavern Road, West Trenton, New Jersey

 08628. TSI is not licensed as a student loan servicer in New Jersey. TSI is licensed to do business in

 the state of New Jersey under Entity ID No. 0100155233.

        28.     Defendants John Does 1 to 15 are natural persons and/or business entities created by




                                               Page 7 of 35
       HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 8 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 9 of 107 PageID: 156




 the Defendant or its beneficiaries and affiliates, all of whom reside or are located within the United

 States (excluding the two unnamed foreign nationals) and were personally created, instituted and,

 with knowledge that such practices were contrary to law, acted consistent with and oversaw policies

 and procedures used by the employees of Defendants that are the subject of this Complaint. Those

 defendants personally control the illegal acts, policies, and practices utilized by Defendants and,

 therefore, are personally liable for all of the wrongdoing alleged in this Complaint. Those fictitious

 names of individuals and businesses alleged for the purpose of substituting names of defendants

 whose identity will be disclosed in discovery and should be made parties to this action.

           29.     Some or all of John Does 1-15 set the policies and practices complained of herein.

           30.     Some or all of John Does 1-15 were actively engaged in the practices complained of

 herein.

           31.     In this pleading, “Defendants” in the plural refers to all Defendants individually and

 collectively.

                                      4.    FACTUAL ALLEGATIONS

 4.1    Background

           4.1.1   Origination of the Loans

           32.     An entity known as First Marblehead Corporation (“FMC”) saw an opportunity to

 make high-cost, high interest, purported loans to students (for purposes generally but not for tuition

 or actual educational expenses).

           33.     FMC did not have the reputation, credibility or ability to attract borrowers and even if

 it did, it could not do so because it would become subject to complying with the laws in each state as

 a non-bank entity.

           34.     To avoid the consequence of the previous paragraph, FMC devised a business plan by

 which it would entice national banks to lend their charters to a marketing operation to be conducted


                                                 Page 8 of 35
      HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 9 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 10 of 107 PageID: 157




  by FMC for the banks. Other than lending their name, the banks had no meaningful involvement in

  the loans. FMC itself identified this “rent a charter” scheme as a potential liability issue in its own

  2007 annual report. See Exhibit A.

         35.     As part of its rent a charter scheme, FMC enlisted a purported non-profit entity to act

  as the guarantor for the high-cost loans which would allow FMC to convince the banks that there

  would be little risk arising out of the loans. Specifically, FMC convinced The Education Resources,

  Inc. (“TERI”) to be the guarantor for any purported student loans that went into default.

         36.     FMC was able to convince TERI to become involved, because like the arrangement

  with the banks, FMC promised it would do all the work connected with the marketing and

  generation of the loans. To this end, FMC and TERI entered into a series of management agreements

  that included managing database operations for TERI. TERI would become the depository of the

  original documents relating to the loans made in the names of the participating banks.

         37.     As a result of its plan and program to rent the bank charters and enlist the

  endorsement of TERI, FMC ended up being paid over a $1,000,000,000.00 (one billion dollars) in

  fees for its efforts from the Trusts before the Court in this action. FMC caused the NCT Trusts to be

  created.

         38.      In 2008, the Great Recession hit and TERI filed bankruptcy (in part because the

  toxicity of the high-cost loans led to massive defaults). The relationship between FMC and TERI

  disintegrated and eventually a lawsuit between TERI and FMC was filed in the bankruptcy court

  post-bankruptcy and gave control over TERI’s loan database to TERI. See Exhibit B. This created a

  problem for FMC that FMC never foresaw: TERI ended the relationship and retained the records

  related to the loans it owned under the arrangement created by FMC. In other words, FMC no longer

  had access to the actual loan records.




                                                Page 9 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 10 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 11 of 107 PageID: 158




         39.     The FMC-arranged-loans that are the subject of this action were allegedly assigned to

  15 Delaware statutory trusts described as the NCT Trusts who are the Defendants in this action.

  None of the NCT Trusts have any employees. They all are treated the same by their co-Defendants

  and other than a numeric designation, there is nothing to distinguish between the NCT Trusts.

         40.     A number of Non-Trust parties collectively acted directly or indirectly in the name of

  the NCT Trust Defendants.

         4.1.2   U.S. Bank’s Role In Debt Collection For The Trusts

         41.     U.S. Bank serves two roles in connection with the Trusts. First, it is the Indenture

  Trust of the Trusts. It serves as the Indenture Trustee for a series of Indenture Agreements that were

  created as part of the transactions for the benefit of the purported investors/note holders. Second, it

  serves as the Special Servicer for the NCT Trusts.

         42.     As the Special Servicer, U.S. Bank is responsible for the collection of the loans

  allegedly held by the NCT Trusts. It is in this second role as Special Servicer that the claims are

  asserted against it by the Plaintiff and putative class members in this action since it is the ultimate

  decision maker and controller of the collection actions pursued on behalf of the Trusts (whether

  those decisions are made directly or indirectly through a servicer, subservicer or the people they hire,

  including attorneys, to collect on behalf of the Trusts). It is true that U.S. Bank has placed

  intermediaries between it and others in the collection chain commanded by U.S. Bank, but it remains

  in legal and ultimate control no matter how long the chain of the parties engaged in collecting on

  behalf of the NCT Trusts may become.

         43.     U.S. Bank continues to have responsibility for any collection actions taken in the

  name of the NCT Trusts and the focus of this action. U.S. Bank’s reservation of responsibility is

  demonstrated by U.S. Bank providing indemnification to the servicer (and others) for the

  information or materials provided to the servicers/collectors for their use in their collection and


                                                Page 10 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 11 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 12 of 107 PageID: 159




  services. See Exhibit C.

         44.     The documents provided to the servicers under their servicing agreements are very

  narrow and limited to the “Original Credit Agreement” which refers to the signed first or first two

  pages of the Credit Agreement and related documents. There is no requirement to provide the

  servicer the terms and conditions of the “Original Credit Agreement” and there is no mention of any

  obligation to provide any documents relating to the assignments of the Credit Agreements.

         45.     As the Third Circuit noted in In re National Collegiate Student Loan Trusts 2003-1,

  2004-1, 2004-2, 2005-1, 2005-2, 2005-3, 971 F.3d 433, 440 (3rd. Cir. 2020), “[t]he Basic

  Documents at the outset did not provide for servicing loans delinquent in their payments because

  The Educational Resources Institute Inc. (the “Resource Institute”) guaranteed full repayment on

  those loans. After that entity's bankruptcy in 2008, however, the Trusts established a regime for

  servicing delinquent student loans.”

         46.     As the Special Servicer, U.S. Bank also provides certain services for loans that are

  either delinquent for more than thirty days or deemed to be in default. Among other services it

  provides, U.S. Bank also:

                 a. retains debt collection agencies known as “subservicers” to enforce and

                     collect delinquent and defaulted student loans;

                 b. audits the Subservicers and provide oversight with respect to account

                     management, litigation assistance, and settlement strategies;

                 c. replaces any subservicer whose performance is deficient;

                 d. requires each Subservicer to submit monthly reports relating to the loans

                     on which the Subservicer is collecting; and

                 e. retains responsibility for the information relating to the loans through




                                              Page 11 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 12 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 13 of 107 PageID: 160




                     indemnification liability.

         40.     As Special Servicer, U.S. Bank has allowed collection of loans in New Jersey when

  the actors are not properly licensed to engage in the lending business and servicing of student loans

  to be done without proper licensing of entities required to be licensed.

         41.     U.S. Bank has also actively participated in litigation concerning the right to control

  the collection activities of the Trusts and determining who may collect on behalf of the Trusts. U.S

  Bank was a party and appealed an adverse decision against the Trusts in In re National Collegiate

  Student Loan Trusts 2003-1, 2004-1, 2004-2, 2005-1, 2005-2, 2005-3, 971 F.3d 433 (3rd. Cir. 2020).

  It continues to participate, after intervening in a District Court action, Consumer Financial

  Protection Bureau, Plaintiff, v. National Collegiate Master Student Loan Trust et al. Defendants,

  No. 1:17-cv-1323-SB, 2021 WL 5936404 (D. Del. Dec. 13, 2021), motion to certify appeal granted

  sub nom. Consumer Fin. Prot. Bureau v. Nat'l Collegiate Master Student Loan Tr., No. 1:17-CV-

  1323-SB, 2022 WL 548123 (D. Del. Feb. 11, 2022), which adopted that its role as a special servicer

  was “to collect ‘past due and defaulted student loans’ and to do ‘collections litigation.’” Id. at *1.

         42.     U.S. Bank has also moved to intervene—claiming a right to do so—in actions against

  certain Trusts that sought to limit the rights of Trusts to pursue collection actions or use particular

  collectors.

         43.     Yet, despite its voluntary involvement in litigation concerning the collection actions

  filed in the name of the Trusts, U.S. Bank claims it has no involvement and is far removed from

  collection activities based on contractual terms of the Special Servicing Agreement governing its

  involvement. U.S. Bank’s interpretation of a limited role conflicts with the statement included by the

  Third Circuit that “[t]he Special Servicing Agreement further provided that Defaulted Loans are

  serviced exclusively by the Special Servicer. …” The Third Circuit also noted the contention that




                                                  Page 12 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 13 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 14 of 107 PageID: 161




  collection lawsuits filed in the names of the Trusts were “lawsuits filed by U.S. Bank on behalf of

  the Trusts against borrowers for collection on Defaulted Loans were dismissed due to faulty

  documentation and procedures.” In re Nat'l Collegiate Student Loan Trs. 2003-1, 2004-1, 2004-2,

  2005-1, 2005-2, 2005-3, 971 F.3d 433, 440 (3rd. Cir. 2020)

         44.     U.S. Bank’s decisions to intervene or voluntarily participate in litigation concerning

  the collection actions, including collection suits, shows its direct and indirect involvement in the

  management and control of the Trusts’ collections activities in its role as Special Servicer.

         4.1.3   Servicing Of The Loans

         45.     TERI was to provide the Original Credit Agreement it had possession of to a servicer

  hired for the Trusts known as American Education Services (“AES”) which is also known as the

  Pennsylvania Higher Education Assistance Agency (“PHEAA”). AES was the primary servicer for

  nearly all of the loans that the Trusts claim to own.

         46.     In a Service Performance Report of AES in 2015, an independent reviewer, Boston

  Portfolio Advisers concluded TERI failed to deliver essential documents and AES had no way of

  knowing what they had not received, nor could AES provide any personal knowledge concerning

  any of the records. See e.g., New York Times Article, National Collegiate’s Audit of P.H.E.A.A,

  July 17, 2017 (“The beneficial owner of National Collegiate’s student loan trusts conducted an audit

  of the loans’ servicer. Crucial paperwork needed to collect on the loans in court is missing,

  according to the auditors’ report.”) The Service Performance Review conclusions verified that:

                 100% of the accounts [randomly selected] did not contain an
                 Assignment. It is unknown whether Assignments were appropriately
                 issued. Based on the representations made by PHEAA [another acronym
                 for AES] it is likely that the assignments do not exist.

         47.     This explains why AES did not provide any assignments when Browne asked about

  the current creditor. The Servicer Performance Review also prophetically concluded “[w]ithout



                                               Page 13 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 14 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 15 of 107 PageID: 162




  appropriately issued Assignments, collection efforts are more challenging and costly to defend in

  Court.”

            48.   Because AES lacks documentation of any assignments, AES cannot support the

  claims of assignee made on behalf of any of the NCT Trusts. This lack of proof of assignee status is

  never disclosed and is a material omission.

            49.   AES’s lack of knowledge also extends to knowing which loans are allegedly owned

  by which NCT Trust. The Servicing Performance Report also noted that:

                  PHEAA [a/k/a AES] is not aware of the criteria FMC used for assigning
                  a batch of loans to any given trust except the general knowledge that
                  FMC was able to package loans to appeal to investors. PHEAA would
                  change the owner on its system upon notification from FMC. Loans
                  were not bundled by disbursement year or period (i.e. the 2007 trust
                  does not contain all loans originated in the 2006-2007 academic year)
                  and the criteria that FMC used to formulate the trusts was never
                  disclosed to PHEAA. The first trust (National Collegiate Master Student
                  Loan Trust) was replenished with 6 independent securitizations from
                  2001 to 2006, while the other 14 trusts were one and done transactions.
                  The early disbursements were all direct to consumer and mainly with
                  Chase Bank and Bank One.

            50.   AES’s lack of knowledge as to which loan is owned by which trust is confirmed by

  AES’s practice of referencing “NCT” in communications to borrowers and in credit reporting to

  consumer reporting agencies. AES’s lack of knowledge is not disclosed by AES when it demands

  payments, which is a material omission.

            51.   All collectors relying on AES’s information lack proof to show the Defendant NCT

  Trusts’ ownership of any individual loan accounts. They also lack any ability to prove which NCT

  Trust allegedly owns which individual loans.

            52.   But AES and other collectors acting on behalf of the NCT Trusts nevertheless claim

  to have knowledge of the individual loans and what NCT Trust owns which individual loan—when

  AES has incomplete and deficient records to make such claims. The various collectors, and the



                                                Page 14 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 15 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 16 of 107 PageID: 163




  Defendants in this action, also claim to have personal knowledge of information concerning the

  individual loans and alleged transfers of individual loans when none of them had any direct

  relationship or records that would provide any basis for personal knowledge of the individual loans

  the Trusts claim to own.

         53.     TSI was appointed a special subservicer of the 15 Delaware statutory trusts. As

  special subservicer, it is subject to the control of U.S. Bank for whom it acts. Both U.S. Bank and

  TSI are agents of the NCT Trusts by other agents of the NCT Trusts.

         54.     As special subservicer, TSI allegedly oversees the collection of student loans that go

  into default. Only after a loan has gone into default is TSI first granted access to AES’s records—the

  same incomplete and materially deficient records as explained above. But TSI’s records are no

  greater than the records of AES.

         55.     TSI’s involvement is allegedly after default. TSI’s efforts to collect include mass

  litigation in state courts when it knows the AES records it relies on are incomplete and materially

  deficient. TSI also alters the documents that it presents to borrowers and files before courts as

  explained below.

         56.     TSI knows that to convince borrowers or enforce the loans before courts it would

  have to present competent and admissible evidence.

         57.     But the series of events described above leaves both AES and TSI with incomplete

  and deficient records or any ability to credibly claim any personal knowledge since it was not

  involved in the origination or alleged assignment of the loans; and reliance on AES’s incomplete and

  insufficient records to prove the Trusts’ ownership of any loans is inadequate.

         58.     The natural consequences of attempting to collect in the courts without the required

  proof that is required of every other party in a similar position cannot be overcome.




                                               Page 15 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 16 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 17 of 107 PageID: 164




         59.     TSI tries to overcome the lack of admissible evidence by preparing and submitting

  affidavits by its employees that say they are based on “personal knowledge” when they are not.

         60.     TSI’s collection practices of knowingly and willfully using of affidavits that are

  wrongfully claimed to be based on personal knowledge were addressed by the federal Consumer

  Financial Protection Bureau (“CFPB”). The CFPB’s public enforcement action (2017-CFPB-00184)

  identified the defects in TSI’s efforts to collect the student loans in a September 15, 2017 Stipulation

  and Consent to the Issuance of a Consent Order (“Transworld Stipulation”) and a Consent Order In

  the Matter of Transworld Systems, Inc. (“Transworld Consent Order”) as a result of actions taken on

  behalf of the 15 NCT trusts and for which Wilmington serves as Trustee. See Exhibits D and E.

         61.     The Transworld Consent Order was issued specifically as to TSI’s unfair and

  deceptive acts and practices on behalf of, or in the name of the NCT Trusts. The TSI Consent Order

  is both remedial and mandatory; it identified and prohibited many of the unfair and deceptive acts

  and practices of TSI on behalf of, or in the name of the NCT Trusts.

         62.     In the TSI Consent Order, the CFPB found that TSI and its nationwide network of

  law firms committed a number of offenses between November 1, 2014, and April 25, 2016,

  including:

         a.      filing tens of thousands of collections lawsuits against borrowers in which they did

                 not possess the complete documentation needed to prove the NCT Trusts owned the

                 loans;

         b.      filing tens of thousands of affidavits in support of collections lawsuits in which the

                 affiant swore they had personal knowledge of the debt, when in fact the affiants




         4
           https://files.consumerfinance.gov/f/documents/201709_cfpb_transworld-systems_consent-
  order.pdf


                                               Page 16 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 17 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 18 of 107 PageID: 165




                 frequently merely reviewed data on a computer screen, did not know the source of the

                 data or how it was collected and maintained, and lacked knowledge of the chain of

                 assignment records necessary to prove that the relevant Trust owned the loans;

         c.      Filing numerous lawsuits without the intent or ability to prove the claims, if

                 contested.

         63.     The TSI Consent Order further found that these acts constituted violations of the

  Consumer Financial Protection Act, 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

         64.     The Consent Order also referenced the supervising role to be played by the Special

  Servicer, U.S. Bank, to issue directives to TSI including requiring disclosures in connection with

  debt collection efforts in the name of the Trusts, to withdraw any affidavits or collection suits,

  provide information to the Special Servicer. Transworld Consent Order at ¶ 51.

         65.     Despite the Transworld Consent Order, TSI has continued to conduct “business as

  usual” and engage in the same wrongful behavior.

         66.     TSI also provides documents that are prepared for litigation and filed in court actions

  filed in the names of the Trusts. These documents include adding documents to various agreements.

  The primary document that allegedly shows that the Trusts have interests are Pool Supplements. The

  Pool Supplements reference a schedule of loans that is attached to the Pool Supplement Agreement.

  Since TSI does not have the loan schedules that were attached to the Pool Supplement Agreements,

  TSI has instituted the use of what it calls a placeholder—a document that claims that the listing of

  the loans being transferred are on file with FMC. This is not part of the original agreement but has

  been added to the document to leave the false, unfair, and deceptive impression to the Plaintiff,

  putative class members, and the state courts—that the Trusts have a valid interest in the loans when

  they do not.




                                               Page 17 of 35
       HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 18 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 19 of 107 PageID: 166




          67.       Since the “placeholder” does not identify any specific loans, TSI adds an excerpt of

  an additional document that it attaches to the Pool Supplement labeled a “roster.” This is not a

  document included as part of the original Pool Supplement transferred from anyone to the Trusts.

          68.       TSI’s practice of attaching this “roster” document has been addressed by the New

  York Attorney General that found the roster “is a document TSI created for the specific litigation by

  copying identical text and data from a large spreadsheet with multiple accounts and pasting it into a

  new account-specific document . . . . [and] TSI’s description of a newly-created document as a

  ‘redacted’ version of the original document may confuse consumers about the nature and legal status

  of the debt, impede consumers’ ability to respond to the lawsuit, and influence consumers to settle

  rather than litigate (or to settle on less favorable terms than they would otherwise accept).” See New

  York Attorney General Assurance of Discontinuance at ¶¶ 21 and 22.5

          69.       TSI also represented in that Assurance “that TSI has ceased identifying excerpts of

  loan rosters cut and pasted into new documents as “redacted” versions of original loan rosters.” Id. at

  ¶ 23. That representation is untrue since TSI continues to alter the Pool Supplement documents in

  court proceedings against the Plaintiff and putative class members by adding rosters to it and

  pretending the roster is part of the original document when it is not.

          70.       TSI’s designation of what NCT Trusts claim to own a particular loan is nothing more

  than guesswork since TSI (nor AES) has any actual knowledge, personal or otherwise, as to the

  ownership of any individual loans by any particular NCT Trust.

          71.       This practice by the NCT Trusts with the approval, knowledge and consent of U.S.

  Bank as Special Servicer and TSI as Special Subservicer has been confirmed by the investigation of




          5
              The document is available at https://ag.ny.gov/sites/default/files/09.11.2020_tsi_aod_final.p
  df


                                                 Page 18 of 35
        HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 19 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 20 of 107 PageID: 167




  its practices by Massachusetts Attorney General6 which concluded:

                            37. Transworld executed certain Affidavits for use in Collection
                    Lawsuits that stated a particular student loan was owned by a Trust,
                    when, in fact, Transworld did not possess sufficient documentation to
                    establish the chain of title of the particular loan.

                            38. From November 1, 2014 through April 25, 2016,
                    Transworld’s representations contained in certain affidavits had the
                    tendency to mislead Consumers to believe that Transworld and Law
                    Firms representing the Trusts possessed the relevant documentation
                    sufficient to support the assertions in the Affidavit and that the Debt was
                    valid and accurate.

           72.      Given the uncertainty of what NCT Trust allegedly owns what individual loans, the

  NCT Trusts are treated as a single entity in collection efforts. The same acronyms, e.g., NCT or

  NCSLT, are used in communications with borrowers and in reporting the loans to consumer

  reporting agencies.

           73.      The Defendants have worked in concert together and collectively orchestrated means

  and methods of collection to unfairly, deceptively, illegally collect and attempt to collect allegedly

  owed debts from the Plaintiff and class members. In addition to the facts found by the investigations

  discussed above, the issue of the Trusts’ reliance on claims of personal knowledge made by

  employees of TSI has already been litigated in courts and resolved against the Trusts by a court of

  competent jurisdiction that estops the Defendants from contesting their liability for pursuing

  collection lawsuits without sufficient or competent evidence to sue individuals.

  4.2     Allegations Regarding Defendants’ Practices Generally

           74.      The NCT Trusts are in the business of allegedly purchasing and taking assignment of

  student loan credit accounts originally extended by other creditors, which they then seek to enforce




           6
               The document is available at https://www.mass.gov/doc/transworld-systems-aod/download



                                                  Page 19 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 20 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 21 of 107 PageID: 168




  against the borrowers through collection letters, lawsuits, and post-judgment collection efforts. This

  is their principal business.

          75.     In the course of their business, the NCT Trusts have allegedly purchased and taken

  assignment of numerous student loan credits accounts originally extended by banks or others to New

  Jersey consumers which were primarily for personal, household, or family purposes.

          76.     All or substantially all of the accounts of which NCT Trusts allegedly took

  assignment extended credit of less than $50,000 and provided for rates of interest and/or other

  charges beyond those authorized by the New Jersey Consumer Finance Licensing Act, at N.J.S.A.

  17:11C-1 to -49 for licensed consumer lenders.

          77.     In the course of their business, the NCT Trusts have enforced their allegedly assigned

  accounts against New Jersey consumers through servicing, collection letters, lawsuits, and post-

  judgment collection efforts. The NCT Trusts rely on the other Defendants for these efforts since they

  do not have employees.

          78.     Defendant TSI acted as a student loan servicer during times when a license was

  required but TSI did not have a license.

          79.     While the Defendant NCT Trusts claim to have purchased student loan credit

  accounts, they cannot show that they are assignees of any particular loan and instead use false or

  misleading statements in the course of their collection efforts consisting of demands, invoices,

  statement, dunning letter or lawsuits.

          80.     By allegedly purchasing and taking assignment of the accounts, Defendant NCT

  Trusts acted as a “sales finance company” as defined at N.J.S.A. 17:16C-1(f).

          81.     By allegedly purchasing, taking assignment of, and/or enforcing the accounts,

  Defendant NCT Trusts engaged in the “consumer loan business” as defined at N.J.S.A. 17:11C-2.




                                              Page 20 of 35
        HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 21 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 22 of 107 PageID: 169




           82.    During all times relevant to this action, Defendant NCT Trusts were not licensed as a

  “sales finance company” or a “consumer lender” pursuant to the CFLA, at N.J.S.A. 17:11C-3.

           83.    TSI has also acted as a student loan servicer for the Defendant NCT Trusts without a

  license when a license was required.

  4.3     Plaintiff Browne

           84.    In 2007, Browne entered into a student loan agreement with JP Morgan Chase Bank

  (“Chase Loan”).

           85.    The Chase Loan was for personal, family, or household purposes.

           86.    Between June 2017 and June 2020, Browne made payments pursuant to AES’s

  communications that represented “NCT” was entitled to collect the amounts allegedly due under the

  Chase Loan.

           87.    In an attempt to collect the Chase Loan, Defendants, through AES, reported the

  account to a major credit reporting agency, TransUnion, and possibly other credit reporting agencies.

  AES reported that the loans were owned by “AES/NCT.”

           88.    Defendants engaged in collection activities against Plaintiff when the Defendant NCT

  Trusts were not properly licensed to do so under the New Jersey Consumer Finance Licensing Act or

  any other New Jersey consumer lending statute.

           89.    Defendants’ continued collection attempts caused Plaintiff to make payments to them

  for the Chase Loan between June 2017 and June 2020. There may be more payments outside those

  periods.

           90.    Each collection made by Defendants was wrongful and illegal.

           91.    As a result of Defendants’ unlawful actions, Plaintiff has suffered an ascertainable

  loss, specifically the amount that Plaintiff paid Defendants towards the Chase Loan when the




                                               Page 21 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 22 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 23 of 107 PageID: 170




  Defendant NCT Trusts were unable to show it was assigned his loan.

         92.     Defendants’ collection or enforcement of the Chase Loan, whether it was actually

  acquired by Defendant NCT Trusts or not, was unauthorized and unlawful because Defendant NCT

  Trusts did not have a license to engage in business as a “sales finance company” or a “consumer

  lender” pursuant to the CFLA, at N.J.S.A. 17:11C-3.

         93.     Any alleged assignment of the Chase Loan to any Defendant NCT Trust was void

  upon assignment to any Defendant NCT Trust, pursuant to N.J.S.A. 17:11C-33(b).

         94.     Defendant NCT Trusts also did not have the legal right to enforce any student loan

  against Plaintiff since it was unable to show that it was assigned the loan.

         95.     During the six years prior to the date when Plaintiff’s Complaint was filed, numerous

  New Jersey consumers made payments to Defendants for accounts that Defendant NCT Trusts

  claimed were assigned to them when they were not properly licensed under the New Jersey

  Consumer Finance Licensing Act—the Defendant NCT Trusts were unable to show they were

  assigned specific loans through competent and admissible evidence.

         96.     During the six-year period prior to the date when Plaintiff’s Complaint was filed,

  Defendants collected money, directly or indirectly, from Plaintiff and the proposed class as a result

  of collection activities on accounts claimed to have been acquired when the Defendant NCT Trusts

  were not properly licensed—the Defendant NCT Trusts were unable to show they were assigned

  specific loans through competent and admissible evidence.

                                  5.     CLASS ACTION ALLEGATIONS

                                               (Plaintiff Class)

         97.     Plaintiff brings this action individually and as a class action on behalf of all others

  similarly situated pursuant to Rule 4:32 of the New Jersey Rules of Court.




                                                Page 22 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 23 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 24 of 107 PageID: 171




            98.    Subject to discovery and further investigation which may require Plaintiff to modify the

  following class definition at the time Plaintiff moves for class certification, Plaintiff seeks certification

  of a class and a subclass initially defined as follows:

                   Class: All natural persons with addresses in the State of New Jersey
                   who are listed as the borrower or purchaser in any account allegedly
                   assigned to Defendant Trust, or any of its servicers, collectors, sister,
                   affiliated or parent entities.

                          Subclass: All members of the Class who paid any money or
                          from whom Defendant Trust or any of its or any of its servicers,
                          collectors, sister or parent entities, directly or indirectly through
                          any agents or contractors, collected any money on the allegedly
                          assigned account.

            99.    Plaintiff seeks to recover declaratory relief on behalf of the class and attorney’s fees

  and costs to the extent allowed by law.

            100.   Plaintiff seeks to recover statutory damages, actual damages, restitution and

  attorney’s fees and costs on behalf of himself and all subclass members under the claims asserted

  herein.

            101.   The Class and Subclass for whose benefit this action is brought is so numerous that

  joinder of all members is impracticable.

            102.   There are questions of law and fact common to the members of the Plaintiff Class and

  Subclass against the Defendants and the proposed Defendant Class that predominate over questions

  affecting only individuals, including but not limited to:

                   A.     Whether Defendants are “persons” subject to the requirements of the CFA;

                   B.     Whether Defendants’ attempted collection of consumer debts from Plaintiff
                          and those similarly situated constitutes the subsequent performance of the sale
                          of merchandise within the meaning of the CFA at N.J.S.A. 56:8-2;

                   C.     Whether Defendants’ attempted collection of consumer debts from Plaintiff
                          and those similarly situated was made in connection with the sale of
                          merchandise within the meaning of the CFA at N.J.S.A. 56:8-2;



                                                  Page 23 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 24 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 25 of 107 PageID: 172




                 D.     Whether Defendants’ communications asserting that it had allegedly acquired
                        certain loans between Plaintiff and the Class and others, when the assertion
                        could not be shown to be true constitutes an unconscionable commercial
                        practice, deception, fraud, false promise, false pretense and/or
                        misrepresentation in violation of the CFA at N.J.S.A. 56:8-2;

                 E.     Whether Defendants’ attempts to collect consumer debts allegedly acquired
                        when it was not properly licensed constitutes an unconscionable commercial
                        practice, deception, fraud, false promise, false pretense and/or
                        misrepresentation in violation of the CFA at N.J.S.A. 56:8-2;

                 F.     Whether any judgments entered on cases filed when the Defendant NCT
                        Trusts were not properly licensed are unenforceable;

                 G.     Whether any actions of TSI against any class member on behalf of the
                        Defendant NCT Trusts were lawful since it did not have a license to service
                        student loans during the time frame the law required it;

                 H.     The amounts that the Subclass are entitled to recover from Defendants for
                        damages, disgorgement and restitution.

                 I.     Whether the Plaintiff and the Plaintiff Class are entitled to declaratory and
                        injunctive relief against the Defendants.

         103.    There are questions of law and fact common to the members of the Subclass that

  predominate over questions affecting only individuals, including but not limited to:

                 A.     The common issues for the class and subclass set forth above.

                 B.     The equitable relief that they may be entitled to relating to amounts collected
                        from them on judgments entered on cases for accounts allegedly acquired by
                        the Defendant NCT Trusts when it was not properly licensed including,
                        pursuant to the CFA at N.J.S.A. 56:8-19;

                 C.     Whether Plaintiff and those similarly situated suffered an ascertainable loss in
                        the form of all amounts paid to Defendants or their agents as a result of
                        Defendants’ collection attempts including filing civil collection complaints on
                        accounts allegedly acquired when it was not licensed or unable to show
                        ownership of loans through admissible evidence;

                 D.     Whether Plaintiff and those similarly situated are entitled to treble damages for
                        all ascertainable losses incurred pursuant to the CFA at N.J.S.A. 56:8-19.

                 E.     What relief may be obtained based on any actions taken by TSI when it was
                        required to be licensed but was not.



                                              Page 24 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 25 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 26 of 107 PageID: 173




            104.   A class action is superior to other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. A class action will

  cause an orderly and expeditious administration of the claims of the Class and Subclass and will

  foster economies of time, effort and expense by avoiding thousands of individual suits that will be

  based on the same legal theories that can be resolved in a single proceeding.

            105.   Plaintiff’s claims are typical of the claims of the members of the Class and the

  Subclass. He is member of both the Class and Subclass.

            106.   The questions of law and/or fact common to the members of the Class and Subclass

  predominate over any questions affecting only individual members.

            107.   Plaintiff does not have interests antagonistic to those of the Class and Subclass.

            108.   The Class and subclass, of which Plaintiff is a member, are readily identifiable. The

  Defendants have records of each account that it collected on when it did not hold a license.

            109.   Plaintiff will fairly and adequately protect the interests of the Class and Subclass and

  has retained competent counsel experienced in the prosecution of consumer litigation. Proposed

  Class Counsel have investigated and identified potential claims in the action; have a great deal of

  experience in handling class actions, other complex litigation, and claims of the type asserted in this

  action.

            110.   The prosecution of separate actions by individual members of the Class and Subclass

  would run the risk of inconsistent or varying adjudications, which would establish incompatible

  standards of conduct for the Defendants in this action or the prosecution of separate actions by

  individual members of the class would create the risk that adjudications with respect to individual

  members of the class would as a practical matter be dispositive of the interests of the other members

  not parties to the adjudications or substantially impair or impede their ability to protect their




                                                Page 25 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 26 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 27 of 107 PageID: 174




  interests. Prosecution as a class action will eliminate the possibility of repetitious litigation.

         111.    Plaintiff does not anticipate any difficulty in the management of this litigation. The

  Defendants’ actions are uniform in their approach to all class members and done pursuant to written

  policies and procedures.

                                      6.    FIRST COUNT
                        DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF FOR THE
                              PLAINTIFF CLASS AGAINST THE DEFENDANTS

         112.    Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

         113.    Section 3 of the CFLA, codified at N.J.S.A. 17:11C-3, provides that “[n]o person

  shall engage in business as a consumer lender or sales finance company without first obtaining a

  license or licenses under this act.”

         114.    A violation of section 3 in the making or collection of a loan voids the loan and

  precludes any further right to collect or receive any principal, interest or charges, pursuant to the

  CFLA, at N.J.S.A. 17:11C-33(b).

         115.    Thus, if the Defendant NCT Trusts acquired any loans, the Defendant NCT Trusts

  lacked the legal right to acquire and collect the debts when they did not hold a license required by

  New Jersey Law.

         116.    Any judgment arising from an action illegally filed by Defendant NCT Trusts should

  be held to be unenforceable.

         117.    The existence of the judgments are public records that have and will continue to

  adversely affect the Class.

         118.    The Defendant NCT Trusts violated section 3 of the CFLA by making false or

  misleading communications that they had acquired the loans of Plaintiff and the Plaintiff Class when

  the Defendant NCT Trusts knew they could not prove they acquired any particular loans.




                                                Page 26 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 27 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 28 of 107 PageID: 175




         119.    The Defendant NCT Trusts violated section 3 of the CFLA by engaging in the

  “consumer loan business” in New Jersey without a license to do so.

         120.    The Defendant NCT Trusts violated section 3 of the CFLA by engaging in business

  as a “sales finance company” without a license to do so.

         121.    The Defendant NCT Trusts’ violations of the CFLA constitute unconscionable

  commercial practices and otherwise violate the Consumer Fraud Act at N.J.S.A. 56:8-2.

         122.    The unconscionable commercial practices included Defendant NCT Trusts failing to

  disclose material facts to Plaintiff and the Plaintiff Class Members—they could not prove they were

  an assignee of any specific loan.

         123.    The unconscionable commercial practices also included Defendant NCT Trusts using

  TSI as a student loan servicer when it is not licensed to do so.

         124.    Plaintiff and the Plaintiff Class suffered ascertainable loss from Defendant NCT

  Trusts’ CFA violations in the amount monies collected, and/or paid on the void accounts or for

  payments collected by an unlicensed student loan servicer when it was required to be licensed.

         125.    Plaintiff therefore has standing to seek injunctive and other equitable relief under the

  CFA, at N.J.S.A. 56:8-19.

         126.    Moreover, under the Uniform Declaratory Judgments Law at N.J.S.A. 2A:16-53, the

  Plaintiff and the putative Class members are “person[s] interested under a . . . written contract” and

  person[s] “whose rights, status or other legal relations are affected by a statute” and therefore, they

  “may have determined any question of construction or validity arising under the . . . contract . . . and

  obtain a declaration of rights, status or other legal relations thereunder.”

         127.    The Plaintiff and the Plaintiff Class are entitled to a declaratory judgment that the

  accounts Defendant NCT Trusts allegedly took assignment would be void if true.




                                                Page 27 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 28 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 29 of 107 PageID: 176




         128.       The Plaintiff and the Plaintiff Class are entitled to a declaratory judgment that the

  Defendant NCT Trusts cannot prove they are an assignee or have any right to collect any specific

  loans of the Plaintiff or of the members of the Plaintiff Class.

         129.       The Plaintiff and the Plaintiff Class are entitled to a declaratory judgment that any

  judgments obtained in the name of Defendant NCT Trusts are unenforceable.

         130.       The Plaintiff and the Plaintiff Class are entitled to a declaratory judgment that the

  Defendant NCT Trusts engaging TSI to service any student loan is unlawful.

         131.       The Plaintiff and the Plaintiff Class are entitled to a declaratory judgment that TSI is

  unlawfully acting as a student loan servicer and should be enjoined from continuing to act as a

  student loan servicer.

         132.       The Defendant, TSI, in addition to the relief being granted in the preceding

  paragraph, along with Defendants, U.S. Bank and Wilmington, should also be enjoined from further

  collection efforts in the name of the NCT Trusts because the Defendant NCT Trusts have no

  employees but act through these Defendants and others. The wrongful actions and omissions were

  done by, directly or indirectly, by these Defendants or may be done by these Defendants, directly

  and indirectly.

         133.       The Defendant NCT Trusts, and all of its agents or others acting on their behalf or in

  their name should be enjoined from any further action or failing to take actions that result in any

  effort to collect any accounts, retain benefits from collecting on any account or enforce judgments

  should be enjoined.

         WHEREFORE, as to Count One, Plaintiff, on behalf of himself and the putative plaintiff

  class members, hereby request a Judgment against Defendant NCT Trusts, TSI, U.S. Bank and

  Wilmington, jointly and severally,




                                                 Page 28 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 29 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 30 of 107 PageID: 177




        a.    Granting class certification for class-wide equitable relief under R. 4:32-1(b)(2), and

              issuing a declaratory judgment applicable to the Plaintiff and putative Class and

              Subclass, pursuant to the Uniform Declaratory Judgments Law at N.J.S.A. 2A:16-53

              and against the Defendant NCT Trusts, TSI, U.S. Bank and Wilmington, ruling that:

              1.     The Defendant NCT Trusts, TSI, U.S. Bank and Wilmington violated section 3

                     of the CFLA by making false or misleading communications that Defendant

                     NCT Trusts had acquired the loans of the Plaintiff and Class Members.

              2.     The Defendant NCT Trusts violated section 3 of the CFLA by engaging in the

                     “consumer loan business” in New Jersey without a license to do so;

              3.     Alternatively, or additionally, the Defendant NCT Trusts violated section 3 of

                     the CFLA by engaging in business as a “sales finance company” without a

                     license to do so;

              4.     The Defendant NCT Trusts, U.S. Bank, Wilmington and TSI violated section 3

                     of the CFLA by engaging in or permitting TSI to act as a student loan servicer

                     without a license to do so;

              5.     The Plaintiff’s and putative class members’ accounts of which Defendant NCT

                     Trusts allegedly took assignment and/or enforced are void by operation of

                     N.J.S.A. 17:11C-33(b);

              6.     The void accounts cannot be revived through reassignment;

              7.     The judgments obtained by Defendant NCT Trust in actions based on an

                     account allegedly acquired by Defendant NCT Trusts when it was not properly

                     licensed are unenforceable;




                                           Page 29 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 30 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 31 of 107 PageID: 178




              8.     At all relevant times hereto Defendant NCT Trusts did not have, and has never

                     had, the legal capacity to collect or receive any principal, interest or charges

                     under the void accounts, through any collection mechanism or legal right;

              9.     Defendant NCT Trusts lacked the capacity to seek enforcement of any of the

                     Plaintiff’s or putative class members’ accounts or any judgments obtained on

                     such accounts for the above reasons.

              10.    Defendant NCT Trusts, U.S. Bank and Wilmington lacked the capacity to

                     appoint an unlicensed entity, TSI, to service the student loans of the Plaintiff or

                     the Plaintiff Class members and any actions based on the actions of the

                     unlicensed student loan servicer, TSI are void.

        b.    Granting a permanent injunction against the Defendant NCT Trusts, TSI, U.S. Bank

              and Wilmington pursuant to the CFA, at N.J.S.A. 56:8-19, prohibiting them from

              making any further attempts to enforce New Jersey consumers’ accounts, including

              an injunction against any attempt to collect upon, enforce or assign the account

              contracts, or to seek collection remedies on or assign any outstanding judgments

              entered in collection actions on the accounts;

        c.    Granting a permanent injunction against the Defendant NCT Trusts, TSI, U.S. Bank

              and Wilmington pursuant to the CFA, at N.J.S.A. 56:8-19, prohibiting them from

              making any further attempts to have any student loans serviced by TSI ;

        d.    Directing the Defendant NCT Trusts, TSI, U.S. Bank and Wilmington to provide

              equitable notice relief pursuant to the CFA, providing for notice to Class members of

              the declaratory and injunctive ruling.

        e.    Awarding Plaintiff’s counsel reasonable attorneys’ fees and costs under the CFA;




                                           Page 30 of 35
        HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 31 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 32 of 107 PageID: 179




           f.     For such other and further relief as the Court deems equitable and just.

                              7.   SECOND COUNT
   DAMAGES UNDER THE CONSUMER FRAUD ACT ON BEHALF OF PLAINTIFF AND THE SUBCLASS

           134.   Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

           135.   Defendants are “persons” within the meaning of the CFA at N.J.S.A. 56:8-1.

           136.   Plaintiff and those similarly situated purchased “merchandise” within the meaning of the

  CFA at N.J.S.A. 56:8-1.

           137.   Defendants engaged in unconscionable commercial practices, deception, fraud, false

  promises, false pretenses and/or misrepresentations in connection with the sale of merchandise in

  violation of the CFA at N.J.S.A. 56:8-2.

           138.   Defendants engaged in unconscionable commercial practices, deception, fraud, false

  promises, false pretenses and/or misrepresentations in the subsequent performance of the sale of

  merchandise in violation of the CFA at N.J.S.A. 56:8-2.

           139.   Defendants committed unconscionable commercial practices, deception, fraud, false

  promises, false pretenses and/or misrepresentations in direct violation of the CFA at N.J.S.A. 56:8-2

  by:

                  A.      Making false or misleading communications that it had acquired the loans of

                          Plaintiff and the Class when Defendants knew they could not prove the

                          Defendant NCT Trusts had acquired any particular loans.

                  B.      Misrepresenting in its collection and other communications that Defendant

                          NCT Trusts had the legal right to collect on the account when it lacked the

                          proper license to do so even if it had acquired the account;

                  C.      Filing civil collection complaints when it lacked the proper license to do so;

                  D.      Representing, explicitly or impliedly, in the collection complaints and related



                                                 Page 31 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 32 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 33 of 107 PageID: 180




                        communications concerning or with Plaintiff and the Class Members that

                        Defendant NCT Trusts were properly licensed giving it the right to collect and

                        file the actions such that the collection complaints could be properly filed and

                        maintained;

                 E.     Representing, explicitly or impliedly, in the collection complaints and related

                        communications concerning or with Plaintiff and the Class Members that TSI

                        was properly licensed; and

                 F.     Demanding and accepting payments from Plaintiff and the Class Members on

                        the accounts or the judgments obtained from actions filed when the Defendant

                        NCT Trusts and TSI lacked the proper licenses to or lacked the ability to

                        prove that the Defendant NCT Trusts had been assigned the legal right to

                        enforce the accounts;

                 G.     Demanding and accepting payments from Plaintiff and the Class Members

                        through a servicer, TSI, when it was required to be licensed but was not

                        licensed as a student loan servicer.

         140.    As a result of Defendants’ unlawful actions, Plaintiff and the Subclass members

  suffered ascertainable loss from Defendants’ CFA violations in the amount monies claimed to be

  due, collected, and/or paid on the void accounts, entitling them to treble damages under the CFA, at

  N.J.S.A. 56:8-19.

         WHEREFORE, as to Count Two, Plaintiff, on behalf of himself and the putative Subclass

  members, hereby request a Judgment against Defendants, jointly and severally,

             a. Granting class certification of the Subclass under R. 4:32-1(b)(3);

             b. Awarding treble damages under the CFA, at N.J.S.A. 56:8-19;




                                              Page 32 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 33 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 34 of 107 PageID: 181




             c. Alternatively awarding a refund of all moneys collected under the CFA, at N.J.S.A.

                 56:8-2.11;

             d. Awarding Plaintiff’s counsel reasonable attorneys’ fees and costs under the CFA, at

                 N.J.S.A. 56:8-19;

             e. For pre-judgment and post-judgment interest; and

             f. For such other and further relief as the Court deems equitable and just.

                                        8.
                                       THIRD COUNT
                                    UNJUST ENRICHMENT
                    DISGORGEMENT ON BEHALF OF PLAINTIFF AND THE SUBCLASS

         141.    Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

         142.    The Defendants have been unjustly enriched by the funds that they have received

  from the Plaintiff and Subclass.

         143.    The collection of those funds by Defendants have conferred a benefit on the

  Defendants.

         144.    The Defendants know that that they received a benefit by receiving funds from the

  Plaintiff and Subclass members.

         145.    Defendants’ retention of the benefits conferred on them by the Plaintiff and Subclass

  based on obtained accounts or judgments thereon for which it lacked the ability to prove it had any

  legal right to enforce the accounts would be unjust.

         146.    Defendants’ retention of the benefits conferred on them by the Plaintiff and Subclass

  based on obtained accounts serviced by an unlicensed servicer would be unjust.

         147.    Defendants’ retention of the benefits conferred on them by the Plaintiff and Subclass

  based on illegally obtained accounts and judgments would be unjust.

         148.    Defendants should be ordered to disgorge or provide restitution to the Plaintiff and




                                                Page 33 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 34 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 35 of 107 PageID: 182




  the Subclass.

         149.     The disgorgement or restitution should include any profits or other benefits enjoyed

  by the Defendants as a result of the receipt of the Plaintiff and Subclass’s funds.

         WHEREFORE, as to Count Three, Plaintiff, on behalf of himself and the putative subclass

  members, hereby request a Judgment against Defendants, jointly and severally,

             a. Granting class certification of the Subclass under R. 4:32-1(b)(3);

             b. A money judgment for restitution or disgorgement of all amounts collected by the

                  Defendants from the Plaintiff and Subclass including any profits or other benefit

                  enjoyed by Defendants as a result of receiving and using the funds from them;

             c. For attorney’s fees, litigation expenses and costs in connection with this action;

             d. For pre-judgment and post-judgment interest; and

             e. For such other and further relief as the Court deems equitable and just.

                                          9.     JURY DEMAND

         Plaintiff demands a trial by jury on all issues subject to trial by jury.

                               10.     NOTICE TO ATTORNEY GENERAL

         A copy of this Complaint will be mailed to the Attorney General of the State of New Jersey

  within ten days after the filing with the Court, pursuant to N.J.S.A. 56:8-20.

                              11.     DESIGNATION OF TRIAL COUNSEL

         Pursuant to Rule 4:25-4, Yongmoon Kim is designated as trial counsel for Plaintiff.

                                        12.     CERTIFICATION

         Pursuant to Rule 4:5-1, I hereby certify to the best of my knowledge that the matter in

  controversy is not the subject of any action pending in any court or the subject of a pending




                                               Page 34 of 35
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 35 of 35 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 36 of 107 PageID: 183




  arbitration proceeding, nor is any other action or arbitration proceeding contemplated. I further

  certify that I know of no party who should be joined in this action at this time.

         I hereby certify that pursuant to Rule 1:38-7: All confidential identifiers of the parties to this

  action have been redacted from all documents or pleadings submitted to the Court.


  Dated: April 21, 2022                         KIM LAW FIRM LLC

                                                /s/ Yongmoon Kim
                                                Yongmoon Kim
                                                Attorneys for Plaintiff




                                               Page 35 of 35
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 37 of 107 PageID: 184
         HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 1 of 4 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 38 of 107 PageID: 185


                                  UNITED STATES
                      SECURITIES AND EXCHANGE COMMISSION
                                                                 Washington, DC 20549



                                                                 Form 10-K
 (Mark One)
       #          ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES
                  EXCHANGE ACT OF 1934
                                                     For the fiscal year ended: June 30, 2007
                                                                         OR
       "          TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES
                  EXCHANGE ACT OF 1934
                                                    For the transition period from            to
                                                       Commission file number: 001-31825



                        THE FIRST MARBLEHEAD CORPORATION
                                               (Exact name of registrant as specified in its charter)
                                         Delaware                                                XX-XXXXXXX
                               (State or other jurisdiction of                                (I.R.S. Employer
                              incorporation or organization)                                 Identification No.)
                                The Prudential Tower
                            800 Boylston Street, 34th Floor
                                Boston, Massachusetts                                              02199-8157
                         (Address of principal executive offices)                                  (Zip Code)
                                      Registrant’s telephone number, including area code: (617) 638-2000


                                            Securities registered pursuant to Section 12(b) of the Act:
                           Common Stock, $.01 par value                                   New York Stock Exchange
                              (Title of each class)                               (Name of each exchange on which registered)
                                         Securities registered pursuant to Section 12(g) of the Act: None


       Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act Yes # No "
       Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or 15(d) of the Act. Yes " No #
       Indicate by check mark whether the registrant: (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities
 Exchange Act of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and
 (2) has been subject to such filing requirements for the past 90 days. Yes # No "
      Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K is not contained herein, and will not
 be contained, to the best of registrant’s knowledge, in definitive proxy or information statements incorporated by reference in Part III of this
 Form 10-K or any amendment to this Form 10-K. "
       Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, or a non-accelerated filer. See definition
 of “accelerated filer and large accelerated filer” in Rule 12b-2 of the Exchange Act (Check one):
             Large accelerated filer #                      Accelerated filer "                         Non-accelerated filer "
       Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes " No #
       The aggregate market value of the voting and non-voting common equity held by non-affiliates of the registrant (without admitting
 that any person whose shares are not included in the calculation is an affiliate) was approximately $3,171,000,000 based on the last reported
 sale price of the common stock on the New York Stock Exchange on December 30, 2006.
       Number of shares of the registrant’s class of common stock outstanding as of July 31, 2007: 93,405,267


                                              DOCUMENTS INCORPORATED BY REFERENCE
       The registrant intends to file a proxy statement pursuant to Regulation 14A within 120 days of the end of the fiscal year ended June 30,
 2007. Pursuant to Paragraph G(3) of the General Instructions to Form 10-K, information required by items 10, 11, 12, 13 and 14 of Part III
 have been omitted from this report (except for information required with respect to our executive officers and code of ethics, which is set




                            [EXHIBIT A]
 forth under “Executive Officers” and “Code of Ethics” in Part I of this report) and are incorporated by reference to the definitive proxy
 statement to be filed with the Securities and Exchange Commission.
       HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 2 of 4 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 39 of 107 PageID: 186



            • third parties that are not themselves lenders but which market loans on behalf of the lenders
              that fund the loans. We refer to these third parties as loan marketers, and we refer to the
              lenders that fund these loans as program lenders; and
       • “school channel,” which are programs marketed directly to educational institutions by:
             • lenders; and
             • education loan marketers on behalf of program lenders.
        Although we offer our clients a fully integrated suite of outsourcing services, we do not charge
   separate fees for many of these services. Moreover, although we receive fees for providing loan processing
   services to The Education Resources Institute, Inc., or TERI, in connection with TERI-guaranteed loans,
   and fees from certain of our clients for marketing coordination services, these fees represent
   reimbursement of the direct expenses we incur. Accordingly, we do not earn a profit on these fees.
   Although we provide these various services without charging a separate fee, or at cost in the case of
   processing TERI-guaranteed loans and marketing coordination services, we generally enter into
   agreements with the private label lenders giving us the exclusive right to securitize the loans that they do
   not intend to hold, and we receive structural advisory fees and residuals for facilitating securitizations of
   these loans. Our level of profitability depends on our ability to earn structural advisory fees and residuals
   from facilitating securitizations of private label loans. We may in the future enter into arrangements with
   private label lenders under which we provide outsourcing services but do not have the exclusive right to
   securitize the loans that they originate. We also receive fees as the administrator of the trusts that have
   purchased the private label loans, and in this capacity monitor the performance of the loan servicers. See
   “Management’s Discussion and Analysis of Financial Condition and Results of Operations.”
        The primary driver of our results of operations and financial condition is the volume of loans for
   which we provide outsourcing services from loan origination through securitization. The volume of loans
   for which we structured securitizations increased to approximately $3.8 billion in fiscal 2007 from
   approximately $2.8 billion in fiscal 2006 and approximately $2.3 billion in fiscal 2005.

   Program Design and Marketing Coordination
        We help our clients design their private loan programs. Our loan program design approach begins
   with a standard set of pricing options, legal agreements and third-party relationships that we can then
   customize for our clients in order to satisfy their particular needs. In addition, we assist certain clients with
   the design and execution of their marketing programs.

       Program Design
        We have developed strong relationships with lenders and other organizations through active
   marketing by our field sales force and business development executives. Our private label clients are
   typically lenders or educational loan marketers that desire to supplement their existing federal loan or
   other consumer lending programs with a private loan offering. Increasingly, these lenders or marketers are
   responding to competitive pressures to offer private loan programs. They are attracted to an opportunity to
   extend their existing brand in the federal loan or consumer lending marketplace to the private student loan
   marketplace.
        Beyond federal student loan lenders, our approach is flexible enough to facilitate private student loan
   programs for a range of clients, who, in turn, serve a variety of consumers. We believe a private label
   opportunity exists with any business, union, affinity group or other organization that has employees,
   customers, members or other constituencies who are concerned about education costs. We can assist such
   organizations in partnering with a lender and in designing a program that provides tangible benefits to
   their constituencies, while simultaneously generating additional revenue. Regardless of whether the client


                                                           5



                      [EXHIBIT A]
      HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 3 of 4 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 40 of 107 PageID: 187



   is a commercial bank, marketing company, affinity organization or a large corporation, we can contribute
   our specialized knowledge, experience and capabilities to assist these entities in the development of a
   private loan program to meet their needs, while minimizing their resource commitment and exposure to
   credit risk.
        One of the key components of our private label programs is the opportunity for our lender clients to
   mitigate their credit risk through a loan repayment guarantee by TERI. TERI guarantees repayment of the
   borrowers’ loan principal, together with capitalized and/or accrued interest on defaulted loans. For
   additional information on TERI, see “—Relationship with The Education Resources Institute.” If the
   lender disposes of the loan in a securitization, this guarantee remains in place and serves to enhance the
   terms on which asset-backed securities are offered to investors.
       Private label clients fall into two categories:
       • Make and sell. In this category, lenders select credit criteria and loan terms tailored to meet their
         needs and then outsource to us all operating aspects of loan origination and customer support, and
         typically hold the loans on their balance sheets for some limited period of time. Lenders that wish to
         have their loans guaranteed by TERI are required to meet TERI’s underwriting criteria. In the case
         of clients that do not desire, or do not have the ability, to fund the loans initially, we arrange for
         them to work with a program lender in marketing their programs to customers. In both cases, after
         the holding period, we will facilitate a securitization to enable lenders to dispose of the loans, from
         which we generate structural advisory fees and residuals. See “—Securitization.”
       • Make and hold. In this category, clients outsource all operating aspects of loan origination and
         customer support, but finance the loans on their balance sheets and generally continue to hold the
         loans through the scheduled repayment, prepayment or default. Clients retain the ability to
         securitize the loans through us, even if they elect not to do so initially. Unless clients securitize their
         make and hold loans through us, the revenues we generate on these loans are limited to the
         processing fees that we receive from TERI, which represent reimbursement of the direct expenses
         we incur in originating the loans.
       The following table presents information regarding the aggregate principal and accrued interest
   balance of private label loans that we processed during the fiscal years ended June 30, 2007, 2006 and 2005:

                                                                                                Fiscal year ended June 30,
                                                                                              2007         2006          2005
                                                                                                   (dollars in billions)
       Approximate “make and sell” volume processed . . . . . . . . . . . . . . .             $3.8        $2.8          $2.1
       Approximate “make and hold” volume processed. . . . . . . . . . . . . .                 0.4         0.4           0.5
       Approximate total volume processed . . . . . . . . . . . . . . . . . . . . . . . . .   $4.2        $3.2          $2.6

       Marketing Coordination
        We provide marketing coordination services intended to enable our lender and loan marketer clients
   to increase loan volume and resulting program revenue. We have established an in-house department that
   works in collaboration with clients, third-party agencies and vendors to support the development,
   execution and analysis of direct response marketing programs, including direct mail, direct response
   television, and Internet-based marketing campaigns. These programs are designed to drive direct-to-
   consumer loan program volume and generate learnings that inform ongoing marketing optimization and
   refinement.




                                                                     6



                         [EXHIBIT A]
       HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 4 of 4 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 41 of 107 PageID: 188



   Sunshine Act already passed by the U.S. House of Representatives would impose significant additional
   disclosure and processing burdens on our loan origination operations. Other proposals, which have not yet
   passed in either house of Congress, would reduce protection of the loans we securitize in bankruptcy
   proceedings.
        Violations of the laws or regulations governing our operations, or the operations of TERI or our other
   clients, could result in the imposition of civil or criminal penalties, the cancellation of our contracts to
   provide services or our exclusion from participating in education loan programs. These penalties or
   exclusions, were they to occur, would negatively impair our ability to operate our business. In addition, the
   loan assets held by securitization trusts that we have structured could be adversely impacted by violation of
   tax or consumer protection laws. In such event, the value of our residual interests could also be adversely
   impacted. In some cases, such violations may render the loan assets unenforceable.

   Recent litigation has sought to re-characterize certain loan marketers and other originators as lenders; if litigation
   on similar theories were successful against us or any third-party marketer, the loans that we securitize would be
   subject to individual state consumer protection laws.
        We provide financial and educational institutions, as well as other organizations, with an integrated
   suite of services in support of private student loan programs. All of the lenders with which we work are
   federally-insured banks and credit unions and, therefore, are not subject to many state consumer
   protection laws, including limitations on certain interest rates, fees and other charges. In providing our
   private student loan services to our clients, we do not act as a lender, guarantor or loan servicer, and the
   terms of the loans that we securitize are regulated in accordance with the laws and regulations applicable
   to the lenders.
        The association between high-interest “payday loans” marketers and out-of-state national banks has
   come under recent scrutiny. Recent litigation asserts that payday loan marketers use out-of-state lenders in
   order to evade the usury and interest rate caps, and other consumer protection laws, imposed by the states
   where they do business. Such litigation has sought, successfully in some instances, to re-characterize the
   loan marketer as the lender for purposes of state consumer protection law restrictions. Similar civil actions
   have been brought in the context of gift cards. We believe that our activities, and the activities of third
   parties whose marketing on behalf of lenders is coordinated by us, are distinguishable from the activities
   involved in these cases.
        Additional state consumer protection laws would be applicable to the loans we facilitate if we, or any
   third-party loan marketer whose activities we coordinate, were re-characterized as a lender, and the loans
   (or the provisions governing interest rates, fees and other charges) could be unenforceable. In addition, we
   could be subject to claims by consumers, as well as enforcement actions by regulators. Even if we were not
   required to cease doing business with residents of certain states or to change our business practices to
   comply with applicable laws and regulations, we could be required to register or obtain licenses or
   regulatory approvals that could impose a substantial cost on us. To date, there have been no actions taken
   or threatened against us on the theory that we have engaged in unauthorized lending. However, such
   actions could have a material adverse effect on our business.

   The price of our common stock may be volatile.
       The trading price of our common stock may fluctuate substantially, depending on many factors, some
   of which are beyond our control and may not be related to our operating performance. These fluctuations
   could cause you to lose part or all of your investment in our shares of common stock. Those factors that
   could cause fluctuations include, but are not limited to, the following:
        • actual or anticipated changes in our earnings or fluctuations in our operating results or in the
          expectations of securities analysts;


                                                            33



                       [EXHIBIT A]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 1 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 42 of 107 PageID: 189
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 24 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 2 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 43 of 107 PageID: 190
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 25 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 3 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 44 of 107 PageID: 191
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 26 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 4 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 45 of 107 PageID: 192
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 27 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 5 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 46 of 107 PageID: 193
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 28 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 6 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 47 of 107 PageID: 194
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 29 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 7 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 48 of 107 PageID: 195
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 30 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 8 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 49 of 107 PageID: 196
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 31 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 9 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 50 of 107 PageID: 197
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 32 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 10 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 51 of 107 PageID: 198
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 33 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 11 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 52 of 107 PageID: 199
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 34 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 12 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 53 of 107 PageID: 200
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 35 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 13 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 54 of 107 PageID: 201
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 36 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 14 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 55 of 107 PageID: 202
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 37 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 15 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 56 of 107 PageID: 203
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 38 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 16 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 57 of 107 PageID: 204
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 39 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 17 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 58 of 107 PageID: 205
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 40 of 41




                 [EXHIBIT B]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 18 of 18 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 59 of 107 PageID: 206
     Case 08-12540   Doc 1171-1 Filed 11/02/10 Entered 11/02/10 15:31:24   Desc
                              Exhibits 1-3 Page 41 of 41




                 [EXHIBIT B]
         HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 1 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 60 of 107 PageID: 207




                                         TENTH AMENDMENT TO
                DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT



                This Tenth Amendment to the Default Prevention and Collection Services Agreement
       (this “Amendment”) is entered into as of September 27, 2021, by and between U.S. Bank
       National. Association, as successor Special Servicer, a national banking association with a
       principal place of business at 60 Livingston Avenue, EP-MN-WS3D, St. Paul MN 55107
       (together with its successors and assigns, the "Special Servicer") and Transworld Systems Inc.
       (including but not limited to as assignee of NCO Financial            Systems, Inc. ("NCO")), a
       corporation organized under the laws of the State of California having a place of business at 500
       Virginia Drive, Suite 514, Fort Washington, PA 19034 (together with its successors and assigns,
       "TS1"), and amends that certain Default Prevention and Collection Services Agreement entered
       into by and between First Marblehead Education Resources, Inc. ("FMER"), the initial Special
       Servicer, and NCO and dated as of March 1 , 2009 (the "Original Agreement"), as amended by
      that certain First Amendment to Default Prevention and Collection Services Agreement entered
       into by and between FMER and NCO and dated as of May 1, 2009 (the "First Amendment") and
       by that certain Second Amendment to Default Prevention and Collection Services Agreement
      entered into by and between FMER and NCO and dated as of June 15, 2012 (the "Second
      Amendment") and by that certain Third Amendment to Default Prevention and Collection
       Services Agreement entered into by and between U.S. Bank and NCO dated June 21, 2012 (the
       "Third Amendment"), and by that certain Fourth Amendment to Default Prevention and
       Collection Services Agreement entered into by and between U.S. Bank and NCO dated July 1,
      2014 (the “Fourth Amendment”).      The Original Agreement together with the First Amendment,
       Second Amendment, Third Amendment and Fourth Amendment will be collectively referred to
      as the “NCO Agreement”, The NCO Agreement has been amended by that certain Fifth
      Amendment to Default Prevention and Collection Services Agreement entered into by and
      between U.S Bank and TSI dated July 1, 2015 (the “Fifth Amendment”), and by that certain
      Sixth Amendment to Default Prevention and Collection Services Agreement entered into by and
      between U.S. Bank and TSI dated January 1, 2016 (“the Sixth Amendment”), and by that certain
      Seventh Amendment to Default Prevention and Collection Services Agreement entered into by
      and between U.S Bank and TSI dated January 1, 2017 (the “Seventh Amendment”), and by that
      certain Eighth Amendment to Default Prevention and Collection Services Agreement entered
      into by and between U.S Bank and TSI dated January 31, 2018 (the “Eighth Amendment”), and
      by that certain Ninth Amendment to Default Prevention and Collection Services Agreement
      entered    into by and   between   U.S   Bank and      TSI   dated January   31, 2019
                                                                                 (the “Ninth
      Amendment”).  The NCO Agreement together with Fifth Amendment, Sixth Amendment,
      Seventh Amendment, Eighth Amendment and Ninth Amendment will be collectively referred to
      as the “TSI Agreement” herein after. The TSI Agreement as supplemented and amended by this
      Amendment and as may be further amended from time to time pursuant to Section 1 1.10, shall
      collectively be referred to as the "Agreement").


                                                 RECITALS


                WHEREAS, pursuant to that certain (i) Special Servicing Agreement dated as of March
      1, 2009 (the "March SSA") by and among FMER as special servicer, U.S. Bank National
      Association as back-up special servicer (in such capacity the "Back-Up Special Servicer") and




                       [EXHIBIT C]
                                                         1




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                    PLAINTIFF
                                                                                              PLAINTIFF 002768
                                                                                                        001722
         HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 2 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 61 of 107 PageID: 208




       each of the Trusts listed on Schedule A to the March SSA and (ii) Special Servicing Agreement
       dated as of May 1, 2009 (the “May SSA”, together with the March. SSA, the "Special Servicing
       Agreements") by and among FMER as special servicer, U.S. Bank as back-up special servicer,
       Ambac Assurance Corporation ("Ambac") and each of the Trusts listed on Schedule A to the
       May SSA, the Trusts appointed FMER as the initial Special Servicer and U.S. Bank as the Back
       Up Special Servicer for the purposes of providing default prevention, collection and other special
       services duties to the Trusts identified in the Special Servicing Agreements (collectively, the
       "Trusts" and individually, a "Trust") in accordance with the terms of the Special Servicing
       Agreements.


              WHEREAS, pursuant to the Special Servicing Agreements, FMER as initial Special
       Servicer arranged for the outsourcing to NCO of certain default prevention and collection
       activities of the Special Servicer under the Special Servicing Agreements in the event that U.S.
       Bank became the successor Special Servicer (the "Successor Special Servicer") under the Special
       Servicing Agreements;


              WHEREAS, as of June 21, 2012, the Successor Special Servicer assumed the duties of
      the Special Servicer under the Special Servicing Agreements and FMER notified NCO of such
       assumption;


             WHEREAS, pursuant to the NCO Agreement, upon being notified of the assumption by
      U.S. Bank as Back-up Special Servicer of the duties of the Special Servicer under the Special
       Servicing Agreements on behalf of the Trusts, NCO began performance of the Services specified
      in the NCO Agreement;


              WHEREAS, June 21, 2012, is the "Effective Date" for purposes of the Agreement;


              WHEREAS, on or about November 1, 2014, TSI acquired the rights, obligations and
      duties of NCO under the Agreement and the parties wish to amend the Agreement to update the
      default prevention, collection and other special services to be provided by TSI thereunder;


           WHEREAS, Successor Special Servicer and TSI now wish to enter into this Tenth
      Amendment to the Agreement for the express purpose of revising all relevant Agreement terms
      as necessary to clarify the indemnification obligations of the Successor Special Servicer,
      including but not limited to those under Article VII 1 — INDEMNIFICATION AND
      EXCLUSION, of the Agreement;


             NOW THEREFORE, in consideration of the premises set forth above, and other good
      and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
      parties hereto agree as follows:


                                               AGREEMENT


           1.     Recitals Incorporated Herein. The recitals set forth at the beginning of this
      Amendment are true and accurate and are incorporated herein by this reference.




                      [EXHIBIT C]
                                                      2




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                     PLAINTIFF
                                                                                               PLAINTIFF 002769
                                                                                                         001723
         HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 3 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 62 of 107 PageID: 209




              2.        Defined Terms.       All capitalized terms in this Amendment shall have the same
       meaning      given to them in        the Agreement, unless otherwise expressly stated herein.


              3.     Amendments of the Agreement. The Agreement is hereby amended in the
       following respects:


              3.1     Section 1.1, Definitions, of the Agreement              is   amended   by   inserting   (in
       alphabetical order, as appropriate) the following defined term:




                       “Cosigner Release Request” means the receipt, review, approval or denial of
                       any request or application by a Borrower, or its cosigner, to have a cosigner
                       released from an ASL or any private loan obligation and communication to
                       PHEAA of such approval or denial for purposes of PHEAA’s communication
                       with the Borrower or its cosigner.



              3.2    Section 1.1, Definitions, of the Agreement is further amended by deleting and
      replacing the defined term “Services” with the following:


                       “Services” means Default Collection Services, Default Prevention Services, Fraud
                       Claims     Review,    Bankruptcy       and   Probate   Services,   Collections    Agency
                       Management Services, Cosigner Release Requests, and the Other Services.




              3.3      Section 2.5, Special Accounts, is amended as follows:


                                Subsection (c) is added in its entirety as follows;


                                (c) TSI will be responsible for receiving, reviewing, and approving or
                                denying such Cosigner Release Requests, as defined in Section 1.1. TSI
                                will not be responsible for implementing any decision that it makes as to
                                the approval or denial of such Cosigner Release Requests. The process for
                                handling Cosigner Release Requests is generally described in Exhibit F.



              3.4      Section 8.1, Indemnity, is amended as follows:


                       i.       Subsection (c) is deleted in its entirety and replaced as follows:


                                (c) Indemnification Obligations of Successor Special Servicer

                                Subject to the rights and limitations in this Agreement and in the Special
                                Servicing Agreement, Successor Special Servicer shall defend, indemnify,
                                and hold harmless TSI, its officers, directors, employees, agents, affiliates,




                        [EXHIBIT C]
                                                          3




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              PLAINTIFF
                                                                                                        PLAINTIFF 002770
                                                                                                                  001724
         HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 4 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 63 of 107 PageID: 210




                          and subsidiaries, individually and collectively (each, a “TSI Indemnified
                              Party”), from and against any and all claims arising out of or resulting
                          from any action by a third party against such TSI Indemnified Party that is
                          based on any claims resulting from (i) the breach of any representation or
                          warranty, covenant, or agreement of Successor Special Servicer contained
                          in this Agreement, or any amendment thereto; (ii) any information or
                          materials provided by Successor Special Servicer to TSI for use in
                          providing the Services, including but not limited to Cosigner Release
                          Requests; or (iii) the nature or use of Successor Special Servicer’s
                          products or services.    In addition, Successor Special Servicer shall
                          reimburse TSI for all fees and costs incurred by TSI resulting from any
                          third party investigation of the acts and practices of Successor Special
                          Servicer, and/or its subsidiaries and affiliates, including expenses related
                          to compliance with any third party subpoena or with any other discovery
                          proceeding.




             3.5   Section 11.1 of the Agreement is hereby amended and replaced in its entirety as
                   follows:


                          “11.1     Notice Procedure; Addresses.    All notices, demands, and other
                          communications hereunder shall be in writing and shall be deemed to have
                          been duly given and received at the time delivered by hand, if personally
                          delivered; when receipt is acknowledged, if mailed by certified mail,
                          postage prepaid, return receipt requested; the next business day after
                          timely delivery to the courier, if sent by overnight air courier guaranteeing
                          next-day delivery; and when received if sent by any other means as
                          follows:


                          If to Special Servicer:




                          If to Special SubServicer:




                          If to TSI:


                          500 Virginia Drive
                          Attn: Jonathan Thompson, Chief Legal & Compliance Officer
                          Suite 514
                         Fort Washington, PA 19034




                   [EXHIBIT C]
                                                     4




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                  PLAINTIFF
                                                                                            PLAINTIFF 002771
                                                                                                      001725
         HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 5 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 64 of 107 PageID: 211




                             The persons or addresses to which mailings or deliveries shall be made
                             may be changed from time to time by notice given pursuant to the
                             provisions of this Section 11.1.”


             3.6   Exhibit F to the Agreement is hereby deleted and replaced in its entirety with the
                   form of Exhibit F attached to this Amendment.


             3.7   Exhibit G to the Agreement is hereby amended as follows:


                        i.   “Section   1   : Market share limitations” is deleted in its entirety and
                             replaced as follows:

                                     Section 1: Market share limitations:

                   a.                               Confidential - Trade Secret




                   b.                               Confidential - Trade Secret




                   c.
                                                    Confidential - Trade Secret




                    ii.      “Pre-default” definition is deleted in its entirety from Section 2: OCA
                             Performance Measurement.


                    iii.     “Section 3: Market share allocation and adjustments” is deleted in its
                             entirety and replaced as follows:




                    [EXHIBIT C]
                                                       5




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                  PLAINTIFF
                                                                                            PLAINTIFF 002772
                                                                                                      001726
         HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 6 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 65 of 107 PageID: 212




                                   Section 3: Market Share Allocation and Adjustments:

                         a.                       Confidential - Trade Secret




                              b.                   Confidential - Trade Secret




                   [EXHIBIT C]
                                                  6




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                           PLAINTIFF
                                                                                     PLAINTIFF 002773
                                                                                               001727
          HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 7 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 66 of 107 PageID: 213




                                                              Confidential - Trade Secret




              4.     Acknowledgement. Successor Special Servicer expressly acknowledges and
       understands that it has entered into this Agreement and assumed the indemnification obligations,
       both retroactively and prospectively, imposed on the Successor Special Servicer in order to
       induce TSI to perform or to continue to perform the Cosigner Releases, and acknowledges that
       TSI is relying on this Agreement in serving or continuing to serve in such capacity.


              5.     Full Force and Effect of Amendment. This Amendment amends the Agreement
       only as expressly set forth in this Amendment. As amended herein, the Agreement remains in
       full force and effect according to its terms. This Amendment shall be effective as of the date first
       set forth above. All references in the Agreement to the Agreement shall be deemed to mean the
       Agreement as modified hereby. The parties hereto agree to be bound by the terms and conditions
       of the Agreement, as amended by this Amendment, as though such terms and conditions were set
       forth therein. This Amendment may not be amended or otherwise modified except as provided in
       the Agreement. The failure or unenforceability of any provision hereof shall not affect the other
       provisions of this Amendment or the Agreement.


               6.     Amendment Controls. In the case of conflict with respect to any terms and
       conditions of this Amendment and the Agreement, the terms and conditions of this Amendment
       shall control.


               7.       Multiple   Counterparts.   This   Amendment      may   be   executed   in    multiple
      counterparts, each of which shall be deemed an original for all purposes and all of which shall be
      deemed, collectively, one agreement, but in making proof hereof it shall not be necessary to
      exhibit more than one such counterpart. Delivery of an executed counterpart of this Amendment
      by facsimile or pdf electronic transmission shall be deemed as effective as delivery of an
      originally executed counterpart.


               8.
                GOVERNING LAW. THIS AMENDMENT SHALL BE GOVERNED BY, AND
      CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF
      OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW
      PROVISION OR RULE THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY
      JURISDICTION OTHER THAN TO THOSE OF THE STATE OF OHIO. EACH PARTY
      WAIVES ITS RIGHT TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM
      ARISING OUT OF ANY DISPUTE IN CONNECTION WITH THIS AGREEMENT, ANY
      RIGHTS OR OBLIGATIONS HEREUNDER OR THE PERFORMANCE OF ANY SUCH
      RIGHTS OR OBLIGATIONS.




                        [EXHIBIT C]
                                                          7




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                          PLAINTIFF
                                                                                                    PLAINTIFF 002774
                                                                                                              001728
         HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 8 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 67 of 107 PageID: 214




              IN WITNESS WHEREOF, the parties hereto have caused this Tenth Amendment to the
       Default Prevention and Collection Services Agreement to be executed as of the date first written
       above.




                                                          U.S. BANK NATIONAL ASSOCIATION,
                                                          as Successor Special Servicer under the
                                                          Special Servicing Agreements


                                                          By:

                                                          Name: Eivt K 1^/OlM
                                                          Title:




                                                          TRANSWORLD SYSTEMS INC.


                                                          By:


                                                      Name: Ralph Lyons


                                                       Title: SVP




                      [EXHIBIT C]
                                                      8




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                     PLAINTIFF
                                                                                               PLAINTIFF 002775
                                                                                                         001729
         HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 9 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 68 of 107 PageID: 215




                                                      EXHIBIT F
                                NON-TRADITIONAL COLLECTION SERVICES

       Bankruptcy Servicing:


       In the event any debtor with respect to any ASL that is the subject of Services becomes a debtor
       under the U.S. Bankruptcy Code, TS1 shall assign the account to its internal Bankruptcy
       Processing Unit. TSI shall provide the following services for accounts with a balance greater
       than $175.00, that is within the applicable Statute of Limitations and the Bankruptcy Case is
       within the Claims Bar Date at the time of placement;


                 I.   Timely file proofs of claim (“Proofs of Claim”) (as required or permitted by the
                      Bankruptcy Code) on behalf of the Trust in Chapter 7 asset cases as well as
                      Chapter and 13 cases on accounts placed.


                11.   Proofs of Claim will be monitored and amended when necessary to ensure the
                      proper payment and receipt of notices from the Bankruptcy Court.


               III.   TS1, on behalf of the Trusts, shall be responsible for responding to any Objections
                      lodged in response to a filed Proof of Claim. However, such Services, including
                      any costs or fees associated with retaining counsel to assist in responding to such
                      Objections, may be billed to the applicable Trust as appropriate.


               IV.    Shall process all Proceeds which are received from Trustees or a Debtor’s
                      bankruptcy estate in all bankruptcy cases in which it has filed Proofs of Claim in
                      compliance with the Agreement.

       In the event any debtor with respect to any ASL that is the subject of Services initiates an
       Adversary as part of a Bankruptcy filing to attempt to discharge any ASL, TSI shall assign the
       Adversary to external counsel who is familiar with handling Adversary matters.    External
       Counsel is authorized to bill the applicable Trust(s), through TSI for the defense of the
       Adversary at an hourly rate.



      Probate Servicing:


      In the event any debtor with respect to any ASL that is the subject of Services becomes deceased,
      collection efforts will continue from the non-deceased consumer.         If there is no surviving
      consumer, TSI shall assign the account for deceased and probate recovery, provided the account
       is at least $175.00, the following services will be provided, as deemed necessary based on TSI’s
      industry experience.


                I.    Conduct a search for an open and viable estate.


               11.    If a viable estate is identified a claim will be filled on behalf of the Trust in
                      compliance with TSI’s established business model.




                       [EXHIBIT C]
                                                       9




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                    PLAINTIFF
                                                                                              PLAINTIFF 002776
                                                                                                        001730
        HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 10 of 10 Trans ID: LCV20221627459
   Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 69 of 107 PageID: 216




               III.   Monitor the claim to ensure the proper payments are made.


               IV.    If no estate is found, TSI will attempt to identify the Personal Representative as
                      defined by law to determine if a repayment option is available.



       Fraud Claims Review:


       In the event any debtor with respect to any ASL that is the subject of Services alleges that they
       are the victim of fraud or identity theft (“Claimant”), the claim will be handled as follows;


                 I.   Either TSI or its Subservicer will forward a copy of a fraud affidavit to the
                      Claimant.


                11.   Once the fraud affidavit is completed and returned by the Claimant, it will be
                      investigated by an internal team at TSI.


               III.   TSI will either validate the claim as true and close the account appropriately or
                      respond to the consumer with evidence as to why the claim was denied.



       Cosigner Release Requests:


                                         Confidential - Trade Secret




                      [EXHIBIT C]
                                                       10




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                      PLAINTIFF
                                                                                                PLAINTIFF 002777
                                                                                                          001731
      HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 1 of 4 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 70 of 107 PageID: 217
                2017-CFPB-0018     Document 2      Filed 09/18/2017   Page 1 of 4



  + (I&((&I!I%I
                    $                 $  $$

  

                                                      !!!
                                                   ! ! ! !
                                                   !!!


   ! ! !!


   ! ! !



          )81I>=AD<1@I9=,=/9,;I#@>B1/B9>=ID@1,DID@1,DI9=B1=0AIB>I9=9B9,B1I,=I

  ,0<9=9AB@,B9E1I?@>/1109=7I,7-9=ABI)@,=AF>@;0I'GAB1<AI=/I$1A?>=01=BID=01@I I

  *'I I,=0II6@I9BAID=49@I,=0I01/1?B9E1I?@,/C9/1AIF9B8I@17,@0IB>I>;;1/B9>=AI

  ,FAD9BAI9=IE9>;,B9>=I>2IB81I#AI?@>89.9B9>=I>=ID=3-9@I,=0I01/1?B9E1I,/BAI>@I?@,/B9/1AI

   I  I I

          $1A?>=01=BI9=IB81I9=B1@1ABI>2I/><?;9,=/1I,=0I@1A>;DB9>=I>2IB81I<,BB1@I-=0I

  F9B8>DBI-0<9BB9=7I>@I01=H9=7I,=GIF@>=70>9=7I/>=A1=BAIB>IB81I9AAD,=/1I>2I,I>=A1=BI

  "@01@IAD.AB,=B9,;;GI9=IB81I6@<I>2IB81I>=1IB>IF89/8IB89AI'B9?D;,B9>=I,=0I>=A1=BIB>IB81I

  AAD,=/1I>2I,I>=A1=BI"@01@I9AI,BB,/810I>=A1=BI"@01@IF89/8I9AI9=/>@?>@,B10I.GI

  @15@1=/1 I

          =I/>=A901@-B9>=I>2IB81I,.>E1I?@1<9A1AI$1A?>=01=BI,7@11AIB>IB81I6;;>F9=7I

                                         # !"$

        )81ID@1,DI8,AI:D@9A09/B9>=I>E1@IB89AI<,BB1@ID=01@IA1/B9>=AI I,=0I I>2IB81

          >=AD<1@I9=,=/9,;I#@>B1/B9>=I/BI>2I      I#I I*'  II



                  [EXHIBIT D]
                                              
      HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 2 of 4 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 71 of 107 PageID: 218
              2017-CFPB-0018   Document 2   Filed 09/18/2017   Page 2 of 4




                [EXHIBIT D]
      HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 3 of 4 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 72 of 107 PageID: 219
              2017-CFPB-0018   Document 2   Filed 09/18/2017   Page 3 of 4




                [EXHIBIT D]
      HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 4 of 4 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 73 of 107 PageID: 220
              2017-CFPB-0018   Document 2   Filed 09/18/2017   Page 4 of 4




                [EXHIBIT D]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 1 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 74 of 107 PageID: 221
               2017-CFPB-0018      Document 1        Filed 09/18/2017   Page 1 of 32




                                     
                                       


    "*'+'01/1'3$W./-!$$#'+&W%CF:W
     !%. 



                                                            



                        




                                                (W
                                            
          1B:W!IHMOG:LW%CH5H7C5FW.LIN:7NCIHW OL:5OW OK:5OWB5MWL:RD:S:8WNB:W8:6NW

    7IFF:7NCIHMWFCNCA5NCIHWJK57NC7:MWI;WNB:WNNILH:TW+:NSILEW6OMCH:MMWOHCNWI;W1L5HMSILF8W

    0TMN:GMW'H7W10'W/:MJIH8:HNWNB:W5A:HNW5H9W0:KQC7:W.KIQC8:LW@LW>;N::HWW

    ":F5S5K:WMN5NONIKTWNKOMNMWL:=LK:8WNIW5MWNB:W+5NCIH5FW!IFF:AC5N:W0NO8:HNW)I5HW1KOMNMW

   +!0)1MWILWNB:W1LPMNMWSBC7BW5L:WNB:W+5NCIH5FW!IFF:AC5N:W*5MN:LW0NO8:HNW)I5HW

   1LOMNW+!0)1W W+!0)1W W+!0)1W W+!0)1W W+!0)1W W

   +!0)1W W+!0)1W W+!0)1W W+!0)1W W+!0)1W W

   ,!0)1W W+!0)1W W+!0)1W W5H8W,!0)1W W5H8WB5MWC8:HNC?:8W

   QCIF5NCIHMWI;WM:7NCIHMW5W5H8W5WI;WNB:W!IHMOG:KW%CH5H7C5FW.KIN:7NCIHW7NW

   I;WW!%.W2H8:KWM:7NCIHMWW5H8WWI;WNB:W!%.WW20!WUVWWWNB:W

     OL:5OWCMMO:MWNBCMW!IHM:HNW-K8:LW!IHM:HNW-L8:LW

          1IW7IFF:7NWIHW8:<OFN:8WJKCQ5N:WMNO8:HNWFI5HMW)5SW%CKGMW:HA5A:8W6TW

   /:MJIH9:HNMWNNILH:TW+:NSIKEW6PMCH:MMWOHCNW>F:8W8:6NW!IFF:7NCIHMW)5SMOCNMWCHWMN5N:W

                                                



                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 2 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 75 of 107 PageID: 222
              2017-CFPB-0018       Document 1        Filed 09/18/2017   Page 2 of 32




    courts across the country on behalf of the Trusts. In support of many of these lawsuits,

    Respondent executed affidavits that falsely claimed personal knowledge of the account

    records and the consumer's debt, and in many cases, personal knowledge of the chain of

    assignments establishing ownership of the loans. In addition, since November 1, 2014,

    Law Firms hired by Respondent filed hundreds of debt Collections Lawsuits without the

    documentation necessary to prove Trust ownership of the loans.

                                                II

                                         Jurisdiction

         1.     The Bureau has jurisdiction over this matter under sections 1053 and 1055

                of the CFPA, 12 U.S.C. §§ 5563, 5565.

                                                III
                                          Stipulation

         2.     Respondent has executed a "Stipulation and Consent to the Issuance of a

                Consent Order," dated September 14, 2017 (Stipulation), which is

                incorporated by reference and is accepted by the Bureau. By this

                Stipulation, Respondent has consented to the issuance of this Consent

               Order by the Bureau under sections 1053 and 1055 of the CFPA, 12 U .S.C.

               §§ 5563, 5565, without admitting or denying any of the findings of fact or

               conclusions oflaw, except that Respondent admits the facts necessary to

               establish the Bureau's jurisdiction over Respondent and the subject matter

               of this action.

                                              IV
                                         Definitions

                                                2




                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 3 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 76 of 107 PageID: 223
               2017-CFPB-0018        Document 1       Filed 09/18/2017   Page 3 of 32




         3.     The following definitions apply to this Consent Order:

          a. "Affiant" means any signatory to an Affidavit, signing in his or her capacity as

              an employee or agent of Respondent, but excluding one signing solely as a

              notary or witness to the act of signing.

          b. "Affidavit" means any sworn statement filed with a court in connection with a

              Collections Lawsuit.

          c. "Board" means TSI's duly elected and acting Board of Directors.

          d. "Clearly and Prominently" means:

                  1.   as to written information: written in a type size and location sufficient

                       for an ordinary consumer to read and comprehend it, and disclosed in

                       a manner that would be easily recognizable and understandable in

                       language and syntax to an ordinary consumer; if the information is

                       contained in a multi-page print document, the disclosure appears on

                       the first page.

                 11.   as to information presented orally: spoken and disclosed in a volume,

                       cadence, and syntax sufficient for an ordinary consumer to hear and

                       comprehend.

         e. "Collections Lawsuits" means attempts by a Law Firm engaged by

              Respondent's Attorney Network business unit, for an account owned or

              alleged to be owned by a Trust, through judicial processes in the United States

              of America, to collect or establish a Consumer's liability for a Debt.

         f. "Consumer" means any natural person obligated or allegedly obligated to pay

              any Debt.



                                                  3


                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 4 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 77 of 107 PageID: 224
               2017-CFPB-0018      Document 1       Filed 09/18/2017   Page 4 of 32




          g. "Debt" means any obligation or alleged obligation of a Consumer to pay

               money arising out of a transaction in which the money, property, insurance,

               or services which are the subject of the transaction are primarily for personal,

               family, or household purposes, whether or not such obligation has been

               reduced to judgment.

          h. "Effective Date" means the date on which the Consent Order is issued.

          1.   "Enforcement Director" means the Assistant Director of the Office of

               Enforcement for the Consumer Financial Protection Bureau, or his/her

               delegate.

         J. "Law Firm" means a law firm engaged by Respondent's Attorney Network

               business unit to collect student loan Debt on behalf of the National Collegiate

               Student Loan Trusts.

          k. "Regional Director" means the Regional Director for the Northeast Region for

               the Office of Supervision for the Consumer Financial Protection Bureau, or

               his/her delegate.

         1. "Related Consumer Action" means a private action by or on behalf of one or

               more consumers or an enforcement action by another governmental agency

               brought against Respondent based on substantially the same facts as

               described in Section V of this Consent Order.

         m. "Relevant Period" includes the period from November 1, 2014 to April 25,

               2016.

         n. "Respondent" means Transworld Systems, Inc., and its successors and

               assigns.



                                                4


                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 5 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 78 of 107 PageID: 225
                2017-CFPB-0018      Document 1       Filed 09/18/2017   Page 5 of 32




             o. "Service Providers" means any service provider, as defined in section

                1002(26) of the CFPA, 12 U.S.C. § 5481, that provides or provided services

                with respect to the servicing of the student loans owned by a NCSLT.

                                                 V.

                              Bureau Findings and Conclusions

          The Bureau finds the following:

         4.      The National Collegiate Student Loan Trusts ("NCSLTs" or "the Trusts")

                 comprise fifteen (15) Delaware statutory trusts created between 2001 and

                 2007. The basic purpose of each Trust is to acquire a pool of student loans,

                 enter into the so-called trust-related agreements, and provide for the

                 administration of the Trusts and the servicing of student loans.

         5.      The Trusts do not have any employees and all actions taken by the Trusts in

                 connection with loan servicing and collecting Debt are carried out by third

                 parties.

        6.       Debt-collection activities on behalf of the Trusts are carried out by the

                 successor special servicer's sub-servicer pursuant to servicing agreements

                 with the successor special servicer.

        7.       Sub-servicers that executed and notarized the deceptive affidavits did so as

                 Service Providers and agents of the Trusts.

        8.       Law Firms that filed lawsuits on behalf of the Trusts did so as Service

                 Providers and agents of the Trusts.




                                                 5


                   [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 6 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 79 of 107 PageID: 226
               2017-CFPB-0018      Document 1       Filed 09/18/2017   Page 6 of 32




         9.      Respondent Transworld Systems, Inc. (TSI) is incorporated under the laws

                of the State of California and maintains a principal place of business in Ft.

                Washington, Pennsylvania.

         10.    TSI maintains an office in Peachtree Corners, Georgia, where its employees

                execute and notarize affidavits for Collections Lawsuits brought on behalf of

                the Trusts.

         11.    A national network of Law Firms engaged by Respondent file and prosecute

                Collections Lawsuits on behalf of the Trusts in courts across the country.

         12.    TSI has operated as the successor sub-servicer to the successor special

                servicer of the Trusts since November 1, 2014.

         13.    TSI is a "covered person" under 12 U.S.C. § 5481(6) because it is engaged in

                the collection of debt and is a Senrice Provider. 12 U.S.C. § 5481(15)(A)(x),

                (26).

        14.     TSI is an agent and Service Provider of the Trusts.

               FALSE AND MISLEADING AFFIDAVITS AND TESTIMONY

        15.     In connection with collecting or attempting to collect Debt from Consumers,

                between November 1, 2014 and April 25, 2016, Law Firms hired by

                Respondent on behalf of the Trusts initiated 37,689 Collections Lawsuits in

                courts across the country on behalf of the Trusts.

        16.     In support of the Collections Lawsuits, Law Firms submitted Affida,rits

                executed by Respondent and documents in support of the Trusts' claims

                that Consumers owed Debts to a Trust.

        17.     Respondent executed and notarized Affidavits- often with attached

                exhibits-that were used by Law Firms in many of the Collections Lawsuits

                                                6


                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 7 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 80 of 107 PageID: 227
               2017-CFPB-0018      Document 1       Filed 09/18/2017   Page 7 of 32




                brought on behalf of the Trusts between November 1, 2014 and April 25,

                2016.

         18.    In these Affidavits, the Affiants swore that they had personal knowledge of

                the education loan records evidencing the Debt. In fact, in numerous

                instances, Affiants lacked personal knowledge of the education loan records

                evidencing the Debt when they executed the Affidavits.

         19.    The Affiants also asserted that they were authorized and competent to

                testify about the Consumers' Debts through review of and "personal

                knowledge" of the business records, including electronic data in their

                possession. In fact, in certain instances, Affiants lacked personal knowledge

                of the business records, including the electronic data, showing that

                Consumers owed Debts to the Trusts. Affiants were instructed to review

                certain data on a computer screen as part of an effort to verify some

                information in the Affidavits about the Debts. Affiants, however, did not

                always know the source of the data on that screen, how the data ,,vas

               obtained or maintained, whether it was accurate, or whether that data

               meant that the Debt was in fact owed to the Trusts.

        20.    Each Affiant also swore that he/she had "personal knowledge of the record

               management practices and procedures of Plaintiff [the Trust] and the

               practices and procedures Plaintiff requires of its loan servicers and other

               agents." In fact, certain Affiants lacked personal knowledge of the record

               management practices and procedures of the Trusts and the practices and

               procedures the Trusts required of its loan servicers and other agents.



                                                7


                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 8 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 81 of 107 PageID: 228
               2017-CFPB-0018      Document 1       Filed 09/18/2017   Page 8 of 32




         21.    In many Affidavits, the Affiants also stated that "I have reviewed the chain

                of title records as business records" regarding the relevant account. In some

                cases, Affiants did not possess the chain of title records but reviewed "chain

                of title" records that were found online on a government portal maintained

                by the Securities and Exchange Commission. In numerous instances,

                Affiants did not review the chain of title records prior to executing the

                Affidavits.

         22.    In certain Affidavits, the Affiants asserted that they had personal knowledge

                that the loans were transferred, sold, and assigned to the plaintiff Trusts on

                dates certain. In fact, in numerous instances, Affiants lacked personal

                knowledge of the chain of assignment records necessary to prove that the

                relevant Trust owned the subject loans.

         23.    In some instances, certain Affiants complained to supervisors that they did

                not have personal knowledge of the representations made in the Affidavits.

                These affiants continued to execute Affidavits, however, for fear of losing

                their jobs.

        24.    Affiants also provided live testimony in court, purportedly based on

               personal knowledge, similar to the statements made in the Affidavits as

               described in Paragraphs 18-22.

                  FILING LAWSUITS WITHOUT THE INTENT OR ABILI'IY TO
                           PROVE THE CLAIMS, IF CONTESTED

        25.    From November 1, 2014 to April 25, 2016, on behalf of the Trusts, Law

               Firms filed numerous Collections Lawsuits against Consumers even though




                                                8


                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 9 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 82 of 107 PageID: 229
               2017-CFPB-0018      Document 1        Filed 09/18/2017   Page 9 of 32




                the complete documentation needed to prove that the Trusts owned the

                loans did not exist.

         26.    In these lawsuits, documentation of a complete chain of assignment

                evidencing that the subject loan was transferred to and owned by the Trust

                was lacking.

         27.    In addition, Law Firms hired by Respondent on behalf of the Trusts filed

                numerous Collections Lawsuits where the loans in question were disbursed

                to the Consumers after the loans allegedly were transferred to the Trusts

                according to the chain of assignment documents.

         28.    On numerous occasions, Law Firms hired by Respondent filed Collections

                Lawsuits even though the promissory note to prove that a Debt was owed

                did not exist.

         29.    For each Collections Lawsuit described in Paragraphs 25-28, Law Firms

                hired by Respondent could not prove that a Debt ,,vas owed to the Trusts, if

                contested.

                  Violations of the Consumer Financial Protection Act

        30.    Covered persons are prohibited from engaging "in any unfair, deceptive, or

               abusive act or practice" in violation of the CFPA. 12 U.S.C. §§ 5531(a),

               5536(a)(1)(B).

        31.    An act or practice is deceptive under the CFPA if it involves a material

               representation or omission that misleads, or is likely to mislead, a consumer

               acting reasonably under the circumstances.

        32.    An act or practice is unfair if "(A) the act or practice causes or is likely to

               cause substantial injury to consumers which is not reasonably avoidable by

                                                 9


                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 10 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 83 of 107 PageID: 230
               2017-CFPB-0018        Document 1    Filed 09/18/2017   Page 10 of 32




                 consumers; and (B) such substantial injury is not outweighed by

                 countervailing benefits to consumers or competition." 12 U.S.C.

                 § 5531(c)(1).

       FALSE AND MISLEADING COLLECTION AFFIDAVITS AND TESTIMONY

         33.    In numerous instances, in connection with collecting or attempting to

                collect Debt from Consumers, Respondent executed Affidavits that were

                used by Law Firms with many of the Collections Lawsuits filed by Law

                Firms on behalf of the Trusts in courts across the country, and in live

                testimony, Respondent represented, directly or indirectly, expressly or by

                implication, that:

                 a. Affiants had personal knov,,ledge of the account records and the Debt;

                 b. Affiants had personal knowledge of the chain of assignment records

                     evidencing Trust ownership of the subject loan; and

                 c. Affiants had personal knowledge of the record management practices

                     and procedures of the Trusts and all prior servicers.

         34.    In fact, as described in Paragraphs 18 to 24, in numerous instances, these

                representations were either false or the Affiant did not have a basis for

                making the representation.

         35.    The representations are material because they are likely to affect a

                Consumer's choice or conduct regarding how to respond to a Collections

                Lawsuit and are likely to mislead a Consumer acting reasonably under the

                circumstances.




                                                  10



                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 11 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 84 of 107 PageID: 231
               2017-CFPB-0018      Document 1        Filed 09/18/2017   Page 11 of 32




         36.     Thus, representations by Respondent, as described in Paragraphs 18-24,

                constitute deceptive acts or practices in violation of sections 1031(a) and

                1036(a)(1)(B) of the CFPA, 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

              FILING LAWSUITS WITHOUT THE INTENT OR ABILITY TO PROVE
                             THE CLAIMS, IF CONTESTED

         37.    In numerous instances, in connection with collecting or attempting to

                collect Debt from Consumers, Respondent, acting through the Law Firms

                hired by Respondent on behalf of the Trusts, represented, directly or

                indirectly, expressly or by implication, that it could be proven in the

                Collections Lawsuits that the Trusts owned the loans in question and that

                the Consumers in question owed Debts to the Trusts, if contested.

         38.    In fact, in numerous instances, Respondent lacked the complete chain of

                assignment documentation needed to prove Trust ownership of the subject

                loans and the promissory note needed to prove the existence of certain

                loans.

         39.    The representations are material because they are likely to affect a

                Consumer's choice or conduct regarding how to respond to a lawsuit and

                are likely to mislead a Consumer acting reasonably under the

                circumstances.

        40.     Thus, Respondent's representations, as described in Paragraphs 25-29,

                constitute deceptive acts or practices in violation of sections 1031(a) and

                1036(a)(1)(B) of the CFPA, 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

        41.     In addition, Respondent's acts and practices, caused or were likely to cause

                substantial injuries to consumers.


                                                11




                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 12 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 85 of 107 PageID: 232
               2017-CFPB-0018      Document 1        Filed 09/18/2017   Page 12 of 32




         42.    The injuries to consumers included, but were not limited to, all payments

                made, including garnishments of wages and bank accounts, to settle Debts

                not enforceable.

         43.    The injuries to consumers were not reasonably avoidable by consumers and

                were not outweighed by any countervailing benefits to consumers or to

                competition.

         44.    Thus, Respondent's conduct, as described in Paragraph 25-29, constitutes

                unfair acts or practices in violation of sections 1031(c) and 1036(a)(1)(B) of

                the CFPA, 12 U.S.C. §§ 5531(c)(1), 5536(a)(1)(B).

                                            ORDER
                                                VI
                                     Conduct Provisions


   IT IS ORDERED, under sections 1053 and 1055 of the CFPA, that:

        45.     Respondent and its officers, Service Providers, agents, servants, employees,

                and attorneys who have actual notice of this Consent Order, whether acting

                directly or indirectly, may not violate sections 1031 and 1036 of the CFPA,

                12 U.S.C. §§ 5531, 5536, and must take the following affirmative actions:

                 a. Respondent shall take all actions necessary to comply with the terms of

                    the Consent Order.

                 b. Respondent must require that any Law Firm it retains in connection

                    with the collection of student loans owned by the Trusts agree to abide

                    by the terms and conditions of the Consent Order.

                c. Within ninety (90) days of the Effective Date, Respondent must

                    identify all Collections Lawsuits that were filed between November 1,

                                                12


                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 13 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 86 of 107 PageID: 233
             2017-CFPB-0018       Document 1        Filed 09/18/2017   Page 13 of 32




                    2014 and the Effective Date and that are missing the documentation

                   described in subsection (f)(i)and (ii) of this Paragraph.

                d. Within ninety ( 90) days of the Effective Date, Respondent must

                   identify all Collections Lawsuits that were filed seeking Debt outside

                   the statute of limitations and provide this information to the successor

                   special servicer or any other Service Provider of the Trusts.

                e. Within one-hundred twenty (120) days of the Effective Date,

                   Respondent must provide to the successor special servicer and to the

                   Bureau for each Consumer named in the suits identified in Paragraph

                   45c and 45d: the Consumer's name, all available contact information

                   for the Consumer (including information in the possession of the

                   attorneys who filed the suit), and the total amount of all payments

                   made by the Consumer on or after the date on which the suit was filed.

                f. Respondent and its officers, agents, Service Providers, servants,

                   employees, and attorneys who have actual notice of this Consent Order,

                   whether acting directly or indirectly, may not initiate a Collections

                   Lawsuit to collect Debt unless Respondent possesses:

                   1.   the documentation necessary to prove that a Trust owns the loan,

                        including but not limited to, documentation reflecting the complete

                        chain of assignment from the Debt's originator to the specific Trust

                        claiming ownership; and

                  11.   a document signed by the Consumer, such as a promissory note,

                        evidencing the agreement to pay the loan forming the basis of the

                        Debt.

                                               13


                [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 14 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 87 of 107 PageID: 234
             2017-CFPB-0018        Document 1        Filed 09/18/2017   Page 14 of 32




                g. Respondent and its officers, agents, Service Providers, servants,

                     employees, and attorneys who have actual notice of this Consent Order,

                     whether acting directly or indirectly, may not cause Law Firms hired by

                     Respondent on behalf of the Trusts to initiate a Collections Lawsuit to

                     collect on a loan for which the applicable statute of limitations has

                     expired.

                h. Respondent shall establish written policies requiring Law Firms to

                     confirm that the applicable statute of limitations has not expired at the

                     time of the filing of the Collections Lawsuit;

                1.   Respondent shall require Law Firms to provide a quarterly report to

                     Respondent that includes, for each Collections Lawsuit, any data

                     relevant to determining the applicable statute oflimitations, such as

                     date oflawsuit, date of default, and date oflast payment, as well as

                     identifies any lawsuits in which a consumer alleges in his pleadings

                     that the lawsuit was filed outside the statute of limitations.

               J. Respondent shall not collect any Debt through a Collections Lawsuit

                     that Respondent knows or learns was filed outside the statute of

                     limitations, and if any such cases are pending, Respondent shall seek

                     the immediate Vlrithdrawal or dismissal of the lawsuit.

               k. Respondent and its officers, agents, Service Providers, servants,

                     employees, and attorneys who have actual notice of this Consent Order,

                     whether acting directly or indirectly, may not cause Law Firms hired by

                     Respondent on behalf of the Trusts to collect any Debt through



                                                14


                [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 15 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 88 of 107 PageID: 235
              2017-CFPB-0018         Document 1    Filed 09/18/2017   Page 15 of 32




                     Collections Lawsuits that Respondent or its agents have any reason to

                     believe may be unenforceable.

                 1. Respondent, its officers, agents, Service Providers, servants,

                     employees, and attorneys, and all other persons in active concert or

                     participation with any of them, who receive actual notice of this

                     Consent Order, whether acting directly or indirectly, are permanently

                     restrained and prohibited from, in connection with the collection of a

                     Debt, executing any Affidavit containing any misrepresentations,

                     including false statements that:

                     1. the Affiant is familiar with or has personal knowledge of the

                          Consumer's education loan records or the maintenance of those

                          records;

                    11. the Affiant has personal knowledge of the Consumer's debt;

                   111. the Affiant has personal knowledge of the loan's chain of

                          assignment or ownership;

                   1v. the Affiant has personal knowledge of the documents relating to

                          the loan's chain of assignment or ownership;

                    v. the Affidavit has been properly notarized if the Affidavit was not

                          executed in the presence of a notary or if the notarization was

                          otherwise not compliant with applicable notary laws; or

                   VI .   certain documents or records concerning the Debt forming the

                          basis of the Collections Lawsuit have been reviewed by the Affiant.

        46.    Respondent, its officers, agents, Service Providers, servants, employees, and

               attorneys, and all other persons in active concert or participation with any

                                                  15


                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 16 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 89 of 107 PageID: 236
               2017-CFPB-0018      Document 1     Filed 09/18/2017    Page 16 of 32




                of them, who receive actual notice of this Consent Order, whether acting

                directly or indirectly, are permanently restrained and prohibited from, in

                connection with the collection of a Debt, providing any testimony that

                contains any misrepresentations, including false statements that the

                v.ritness:

                  a. is familiar with or has personal knowledge of the Consumer's education

                     loan records or the maintenance of those records;

                 b. has personal knowledge of the Consumer's debt;

                 c. has personal knowledge of the loan's chain of assignment or

                     ownership; or

                 d. has personal knowledge of the documents relating to the loan's chain of

                     assignment or ownership.

         47.    If Respondent determines that it engages in any conduct prohibited by this

                Order, including but not limited to Paragraphs 45-46 of this Order,

                Respondent promptly will take the necessary steps to ensure that it ceases

                any and all practices that violate this Order.

         48.    Within ten (10) days of making the determination described in Paragraph

                47 Respondent must submit to the Regional Director a report detailing (a)

                the practices that violate the Order, (b) the specific agents engaged in the

                practices in question, and (c) a plan to ensure that the practices cease and to

                remediate any harm resulting from the practices.

        49.     With regard to pending Collections Lawsuits filed by a Law Firm in which

                Respondent executed an Affidavit that was filed in support of the pending

                Collection Lawsuit and that contains any misrepresentations-including but

                                                16


                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 17 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 90 of 107 PageID: 237
              2017-CFPB-0018      Document 1      Filed 09/18/2017     Page 17 of 32




                not limited to false statements that the Affiant: (1) is familiar ½rith or has

                personal knowledge of the Consumer's education loan records or the

                maintenance of those records, (2) has personal knowledge of the

               consumer's indebtedness, (3) has personal knowledge of the loan's chain of

               assignment or ownership, (4) has personal knowledge about the

               maintenance of documents relating to the loan's chain of assignment or

               ownership, or (5) has attached as an exhibit a true and correct copy of a

               document-Respondent shall take the steps necessary, including getting

               permission from the successor special servicer, to direct Law Firms acting

               on behalf of the Trusts to ½rithdraw such Affidavit unless the Trusts dismiss

               the suit in which the Affidavit ,,vas filed. Respondent shall take the steps

               necessary, including getting permission from the successor special servicer,

               to direct Law Firms acting on behalf of the Trusts to notify the court of the

               follo½ring in writing and must also simultaneously provide the court ½rith a

               copy of the Consent Order entered into between the Bureau and the

               Respondent: "Plaintiff ½rithdraws the affidavit of [insert name of Affiant]

               pursuant to Consent Order entered into by the Consumer Financial

               Protection Bureau and Transworld Systems, Inc."

        50.    With regard to Collections Lawsuits that were filed in which Respondent

               executed an Affidavit that was filed ½rith a court or in arbitration, and a

               judgment was entered, that contained any misrepresentations-including

               but not limited to false statements that the Affiant: (1) is familiar ½rith or has

               personal knowledge of the Consumer's education loan records or the

               maintenance of those records, (2) has personal knowledge of the

                                                17


                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 18 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 91 of 107 PageID: 238
               2017-CFPB-0018        Document 1        Filed 09/18/2017   Page 18 of 32




                Consumer's indebtedness, (3) has personal knowledge of the loan's chain of

                assignment or ownership, (4) has personal knowledge about the

                maintenance of documents relating to the loan's chain of assignment or

                ownership, or (5) has attached as an exhibit a true and correct copy of a

                document-Respondent must instruct the Law Firms to cease post-

                judgment enforcement activities and Respondent will take the steps

                necessary, including getting permission from the successor special servicer,

                to instruct the Law Firms acting on behalf of the Trusts to seek to remove,

                ½rithdraw, or terminate any active wage garnishment, bank levies, and

                similar means of enforcing those judgments or settlements as well as cease

                accepting settlement payments related to any such Collections Lawsuits.

         51.    Respondents must cooperate in all respects with any directive from the

                successor special servicer acting on behalf of the Trusts to:

                 a. Make certain disclosures in connection with the collection of Debt

                    owned by the Trusts;

                 b. Withdraw any Affidavit or Collection Lawsuit; or

                 c. Provide loan information or documents to the successor special

                    servicer, including but not limited to, information and documents

                    related to:

                     i.   Whether certain loans owned by the Trusts are no longer legally

                          enforceable because the applicable statute oflimitations has

                          expired;

                    11.   Whether Collections Lawsuits have been filed on any loans where

                          sufficient documentation, including signed promissory notes and

                                                  18


                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 19 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 92 of 107 PageID: 239
               2017-CFPB-0018     Document 1     Filed 09/18/2017   Page 19 of 32




                        documentation reflecting the complete chain of assignment from

                        the Debt's originator to the Collection Lawsuit's named plaintiff, is

                        not in the possession, custody or control of the Collection Lawsuit's

                        named plaintiff to prove the existence of the Debt owed to the

                        named plaintiff, or where the applicable statute of limitations has

                        expired; and

                    m. Whether judgments were obtained in Collections Lawsuits

                        described in Paragraph 51(c)(ii) and the identity of Consumers from

                        whom the Trusts obtained payments in response to those

                        Collections Lawsuits, and the specific amounts collected from these

                        Consumers.

                                               VII

                                       Compliance Plan

    IT IS FURTHER ORDERED that:
         52.    Within ninety (90) days of the Effective Date, Respondent must submit to

                the Regional Director for review and determination of non-objection a

                compliance plan designed to ensure that the Attorney Network business

                unit of Respondent complies with all applicable Federal consumer financial

                laws with respect to Collections Lawsuits and the terms of this Consent

                Order (Compliance Plan). The Compliance Plan must include, at a

                minimum:

                 a. Detailed steps for addressing each action required by this Consent

                    Order;


                                               19


                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 20 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 93 of 107 PageID: 240
             2017-CFPB-0018       Document 1     Filed 09/18/2017   Page 20 of 32




                b. Comprehensive, vvritten policies and procedures designed to prevent

                   violations of Federal consumer financial laws and associated risks of

                   harm to Consumers with respect to Collections Lawsuits;

                c. An effective employee training program required for all employees with

                   any involvement in Collections Lawsuits, including but not limited to

                   Affiants, whose duties include reviev.,ing, executing, preparing,

                   processing, verifying,, or notarizing of Affidavits that includes regular,

                   specific, comprehensive training in Federal consumer financial laws

                   commensurate v,,ith individual job functions and duties;

                d. Implementation of reasonable and appropriate written policies and

                   procedures to ensure the proper notarization processes for Affidavits,

                   including that notaries place the Affiants under oath and witness their

                   signatures;

               e. Implementation of reasonable and appropriate written policies and

                  procedures to ensure that Affiants verify the accuracy of each

                  statement made in an Affidavit before executing the Affidavit;

               f. Comprehensive, written policies and procedures designed to ensure

                  that any Law Firms engaged by Respondent to collect Debt do not

                  violate any Federal consumer financial laws, which must include at a

                  minimum:

                   1.   the Law Firm's duty to maintain adequate internal controls to

                        ensure compliance with Federal consumer financial laws;

                  II.   the Law Firm's duty to provide adequate training on compliance

                        with all applicable Federal consumer financial laws and

                                               20



                [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 21 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 94 of 107 PageID: 241
               2017-CFPB-0018       Document 1    Filed 09/18/2017   Page 21 of 32




                           Respondent's policies and procedures related to Collections

                           Lawsuits;

                    m. Respondent's authority to conduct periodic onsite reviews of the

                           Law Firm's controls, performance, and information systems related

                           to Collections Lawsuits; and

                    1v. periodic review by Respondent of the Law Firm's controls,

                           performance, and information systems related to Collections

                           Lawsuits; and

                 g. Specific timeframes and deadlines for implementation of the steps

                        described above.

         53.    The Regional Director will have the discretion to make a determination of

                non-objection to the Compliance Plan or direct Respondent to revise it. If

                the Regional Director directs Respondent to revise the Compliance Plan,

                Respondent must make the revisions and resubmit the Compliance Plan to

                the Regional Director within thirty (30) days.

         54.    After receiving notification that the Regional Director has made a

                determination of non-objection to the Compliance Plan or any amendments

                thereto, Respondent must implement and adhere to the steps,

                recommendations, deadlines, and timeframes outlined in the Compliance

                Plan.

                                               VIII

                                       Role of the Board

   IT IS FURTHER ORDERED that:



                                                 21



                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 22 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 95 of 107 PageID: 242
               2017-CFPB-0018      Document 1     Filed 09/18/2017    Page 22 of 32




         55.     Respondent's Board must review all submissions (including plans, reports,

                programs, policies, and procedures) required by this Consent Order prior to

                submission to the Bureau.

         56.    Although this Consent Order requires Respondent to submit certain

                documents for the review or non-objection by the Regional Director, the

                Board will have the ultimate responsibility for proper and sound

                management of Respondent and for ensuring that Respondent complies

                with Federal consumer financial law and this Consent Order.

         57.    In each instance that this Consent Order requires the Board to ensure

                adherence to or perform certain obligations of Respondent, the Board must:

                  a. Authorize whatever actions are necessary for Respondent to fully

                     comply v.rith the Consent Order;

                 b. Require timely reporting by management to the Board on the status of

                     compliance obligations; and

                 c. Require timely and appropriate corrective action to remedy any

                     material non-compliance with any failures to comply with Board

                     directives related to this Section.

                                                IX

                            Order to Pay Civil Money Penalties

   IT IS FURTHER ORDERED that:

        58.     Under section 1055(c) of the CFPA, 12 U.S.C. § 5565(c), by reason of the

                violations of lav,1 described in Section V of this Consent Order, and taking




                                                22



                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 23 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 96 of 107 PageID: 243
               2017-CFPB-0018     Document 1      Filed 09/18/2017   Page 23 of 32




                into account the factors in 12 U.S.C. § 5565(c)(3), Respondent must pay a

                civil money penalty of $2.5 million to the Bureau.

         59.    Within ten (10) days of the Effective Date, Respondent must pay $1.5

                million of the civil money penalty by wire transfer to the Bureau or to the

                Bureau's agent in compliance with the Bureau's wiring instructions. The

                remainder of the civil money penalty shall be paid in one installment within

                sixty (60) days of the Effective Date.

         60.    The civil money penalty paid under this Consent Order v,,il} be deposited in

                the Civil Penalty Fund of the Bureau as required by section 1017(d) of the

                CFPA, 12 U.S.C. § 5497(d).

         61.    Respondent must treat the civil money penalty paid under this Consent

                Order as a penalty paid to the government for all purposes. Regardless of

                how the Bureau ultimately uses those funds, Respondent may not:

                 a. Claim, assert, or apply for a tax deduction, tax credit, or any other tax

                     benefit for any civil money penalty paid under this Consent Order; or

                 b. Seek or accept, directly or indirectly, reimbursement or

                     indemnification from any source, including but not limited to payment

                     made under any insurance policy, with regard to any civil money

                     penalty paid under this Consent Order.

        62.     To preserve the deterrent effect of the civil money penalty in any Related

                Consumer Action, Respondent may not argue that Respondent is entitled

                to, nor may Respondent benefit by, any offset or reduction of any

                compensatory monetary remedies imposed in the Related Consumer Action

               because of the civil money penalty paid in this action or because of any

                                               23


                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 24 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 97 of 107 PageID: 244
               2017-CFPB-0018     Document 1        Filed 09/18/2017   Page 24 of 32




                payment that the Bureau makes from the Civil Penalty Fund (Penalty

                Offset). If the court in any Related Consumer Action grants such a Penalty

                Offset, Respondent must, within thirty (30) days after entry of a final order

                granting the Penalty Offset, notify the Bureau, and pay the amount of the

                Penalty Offset to the U.S. Treasury. Such a payment will not be considered

                an additional civil money penalty and will not change the amount of the

                civil money penalty imposed in this action.

                                               X

                             Additional Monetary Provisions

    IT IS FURTHER ORDERED that:

         63.    In the event of any default on Respondent's obligations to make payment

                under this Consent Order, interest, computed under 28 U.S.C. § 1961, as

                amended, v.1ill accrue on any outstanding amounts not paid from the date of

                default to the date of payment, and will immediately become due and

                payable.

         64.    Respondent must relinquish all dominion, control, and title to the funds

                paid to the fullest extent permitted by law and no part of the funds may be

                returned to Respondent.

        65.     Under 31 U.S.C. § 7701, Respondent, unless it already has done so, must

                furnish to the Bureau its taxpayer identifying numbers, which may be used

                for purposes of collecting and reporting on any delinquent amount arising

                out of this Consent Order.




                                               24


                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 25 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 98 of 107 PageID: 245
                2017-CFPB-0018     Document 1      Filed 09/18/2017    Page 25 of 32




          66.     Within thirty (30) days of the entry of a final judgment, consent order, or

                  settlement in a Related Consumer Action, Respondent must notify the

                  Regional Director of the final judgment, consent order, or settlement in

                  writing. That notification must indicate the amount of redress, if any, that

                  Respondent paid or is required to pay to Consumers and describe the

                  Consumers or classes of Consumers to whom that redress has been or will

                  be paid.

                                                 XI

                                    Reporting Requirements


          IT IS FURTHER ORDERED that:

         67.     Respondent must notify the Bureau of any development that may affect

                 compliance obligations arising under this Consent Order, including but not

                 limited to a dissolution, assignment, sale, merger, or other action that

                 would result in the emergence of a successor company; the creation or

                 dissolution of a subsidiary, parent, or affiliate that engages in any acts or

                 practices subject to this Consent Order; the filing of any bankruptcy or

                 insolvency proceeding by or against Respondent; or a change in

                 Respondent's name or address. Respondent must provide this notice, if

                 practicable, at least thirty (30) days before the development, but in any case

                 no later than fourteen (14) days after the development.

         68.     Within ninety (90) days of the Effective Date, and again one year after the

                 Effective Date, Respondent must submit to the Regional Director an




                                                 25


                   [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 26 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 99 of 107 PageID: 246
             2017-CFPB-0018      Document 1     Filed 09/18/2017   Page 26 of 32



             accurate written compliance progress report (Compliance Report) that has

             been approved by the Board, which, at a minimum:

              a. Describes in detail the manner and form in which Respondent has

                  complied with this Consent Order; and

              b. Attaches a copy of each Order Acknowledgment obtained under

                  Section XII unless previously submitted to the Bureau.

                                              XII

                     Order Distribution and Acknowledgment

  IT IS FURTHER ORDERED that,

       69.   Within thirty (30) days of the Effective Date, Respondent must deliver a

             copy of this Consent Order to each of its board members as well as to any

             managers, employees, Service Providers, or other agents and

             representatives who have responsibilities related to the subject matter of the

             Consent Order.

       70.   For five (5) years from the Effective Date, Respondent must deliver a copy of

             this Consent Order to any business entity resulting from any change in

             structure referred to in Section XI, any future board members or executive

             officers, as well as to any managers, employees, Service Providers, or other

             agents and representatives who will have responsibilities related to the

             subject matter of the Consent Order before they assume their

             responsibilities.

       71.   Respondent must secure a signed and dated statement acknowledging

             receipt of a copy of this Consent Order, ensuring that any electronic


                                              26

                [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 27 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 100 of 107 PageID: 247
              2017-CFPB-0018     Document 1     Filed 09/18/2017    Page 27 of 32



              signatures comply with the requirements of the E-Sign Act, 15 U.S.C.

              §§ 7001-7031, within thirty (30) days of delivery, from all persons receiving

              a copy of this Consent Order under this Section.

                                             XIII

                                      Recordkeeping

  IT IS FURTHER ORDERED that

        72.   Respondent must create, or if already created, must retain for at least five

              (5) years from the Effective Date, the following business records:

               a. All documents and records necessary to demonstrate full compliance

                   with each provision of this Consent Order, including all submissions to

                   the Bureau.

        73.   Respondent must retain the documents identified in Paragraph 72 for the

              duration of the Consent Order.

        74.   Respondent must make the documents identified in Paragraph 72 available

              to the Bureau upon the Bureau’s request.

                                             XIV

                                           Notices

  IT IS FURTHER ORDERED that:

           Unless otherwise directed in writing by the Bureau, Respondent must

              provide all submissions, requests, communications, or other documents

              relating to this Consent Order in writing, with the subject line, “In re

              Transworld Systems, Inc., File No. Year-CFPB- ,” and send them

              either:

               D By overnight courier (not the U.S. Postal Service), as follows:
                                            27

                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 28 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 101 of 107 PageID: 248
               2017-CFPB-0018     Document 1     Filed 09/18/2017    Page 28 of 32




                  Regional Director, Bureau Northeast Region
                  Consumer Financial Protection Bureau
                  140 East 45th Street, 4th Floor
                  New York, NY10017]

                 or

                 b. By first-class mail to the below address and contemporaneously by

                      email to Enforcement_Compliance@cfpb.gov:

                 Regional Director, Bureau Northeast Region
                 Consumer Financial Protection Bureau
                 140 East 45th Street, 4th Floor
                 New York, NY 10017
                                               xv
                                Cooperation with the Bureau

          IT IS FURTHER ORDERED that:

         76.    Respondent must cooperate fully with the Bureau in this matter and in any

                investigation related to or associated ·with the conduct described in Section

                V. Respondent must provide truthful and complete information, evidence,

                and testimony and Respondent must cause its officers, employees,

                representatives, or agents to appear for interviews, discovery, hearings,

                trials, and any other proceedings that the Bureau may reasonably request

                upon ten (10) days written notice, or other reasonable notice, at such places

                and times as the Bureau may designate, v.~thout the service of compulsory

                process.

                                              XVI

                                  Compliance Monitoring




                                               28


                 [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 29 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 102 of 107 PageID: 249
                2017-CFPB-0018     Document 1      Filed 09/18/2017    Page 29 of 32




     IT IS FURTHER ORDERED that, to monitor Respondent's compliance vvith this

    Consent Order:

          77.    Within fourteen (14) days of receipt of a written request from the Bureau,

                 Respondent must submit additional Compliance Reports or other requested

                 information, which must be made under penalty of perjury; provide sworn

                 testimony; or produce documents.

          78.    Respondent must permit Bureau representatives to interview any employee

                 or other person affiliated with Respondent who has agreed to such an

                 interview. The person interviewed may have counsel present.

         79.     Nothing in this Consent Order v.rill limit the Bureau's lawful use of civil

                 investigative demands under 12 C.F.R. § 1080.6 or other compulsory

                 process.

                                               XVII
                       Modifications to Non-Material Requirements

    IT IS FURTHER ORDERED that:

         80.     Respondent may seek a modification to non-material requirements of this

                 Consent Order (e.g., reasonable extensions of time and changes to reporting

                 requirements) by submitting a written request to the Regional Director.

         81.     The Regional Director may, in his/her discretion, modify any non-material

                 requirements of this Consent Order (e.g., reasonable extensions of time and

                 cha_nges to reporting requirements) if he/she determines good cause

                 justifies the modification. Any such modification by the Regional Director

                 must be in writing.


                                                 29


                   [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 30 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 103 of 107 PageID: 250
                2017-CFPB-0018      Document 1      Filed 09/18/2017     Page 30 of 32




                                                XVIII

                                   Administrative Provisions

          82.    The provisions of this Consent Order do not bar, estop, or othenvise prevent

                 the Bureau, or any other governmental agency, from taking any other action

                 against Respondent, except as described in Paragraph 83.

         83.     The Bureau releases and discharges Respondent from all potential liability

                 for law violations that the Bureau has or might have asserted based on the

                 practices described in Section V of this Consent Order, to the extent such

                 practices occurred before the Effective Date and the Bureau knows about

                 them as of the Effective Date. The Bureau may use the practices described in

                 this Consent Order in future enforcement actions against Respondent and

                 its affiliates, including, vvithout limitation, to establish a pattern or practice

                 of violations or the continuation of a pattern or practice of violations or to

                 calculate the amount of any penalty. This release does not preclude or affect

                 any right of the Bureau to determine and ensure compliance with the

                 Consent Order, or to seek penalties for any violations of the Consent Order.

         84.     This Consent Order is intended to be, and will be construed as, a final

                 Consent Order issued under section 1053 of the CFPA, 12 U.S.C. § 5563, and

                 expressly does not form, and may not be construed to form, a contract

                 binding the Bureau or the United States.

         85.     This Consent Order will terminate five (5) years from the Effective Date or

                 five (5) years from the most recent date that the Bureau initiates an action

                 alleging any violation of the Consent Order by Respondent. If such action is

                 dismissed or the relevant adjudicative body rules that Respondent did not
                                                  30


                   [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 31 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 104 of 107 PageID: 251
               2017-CFPB-0018     Document 1     Filed 09/18/2017       Page 31 of 32




                violate any provision of the Consent Order, and the dismissal or ruling is

                either not appealed or upheld on appeal, then the Consent Order will

                terminate as though the action had never been filed. The Consent Order will

                remain effective and enforceable until such time, except to the extent that

                any provisions of this Consent Order have been amended, suspended,

                waived, or terminated in writing by the Bureau or its designated agent.

         86.    Calculation of time limitations will run from the Effective Date and be based

                on calendar days, unless otherwise noted.

         87.    Should Respondent seek to transfer or assign all or part of its operations

                that are subject to this Consent Order, Respondent must, as a condition of

                sale, obtain the written agreement of the transferee or assignee to comply

                with all applicable provisions of this Consent Order.

         88.    The provisions of this Consent Order will be enforceable by the Bureau. For

                any violation of this Consent Order, the Bureau may impose the maximum

                amount of civil money penalties allowed under section 1055(c) of the CFPA,

                12 U.S.C. § 5565(c). In connection ¼~th any attempt by the Bureau to

                enforce this Consent Order in federal district court, the Bureau may serve

                Respondent wherever Respondent may be found and Respondent may not

                contest that court's personal jurisdiction over Respondent.

         89.    This Consent Order and the accompanying Stipulation contain the complete

                agreement between the parties. The parties have made no promises,

                representations, or warranties other than what is contained in this Consent

                Order and the accompanying Stipulation. This Consent Order and the



                                               31


                  [EXHIBIT E]
     HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 32 of 32 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 105 of 107 PageID: 252
               2017-CFPB-0018     Document 1      Filed 09/18/2017   Page 32 of 32




                accompanying Stipulation supersede any prior oral or written

                communications, discussions, or understandings.

         90.    Nothing in this Consent Order or the accompanying Stipulation may be

                construed as allov,ring the Respondent, its Board, officers, or employees to

                violate any law, rule, or regulation.

    IT IS SO ORDERED, this fi_1Jay of September, 2017.




    Director
    Consumer Financial Protection Bureau




                                               32


                 [EXHIBIT E]
       HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 1 of 2 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 106 of 107 PageID: 253




  Yongmoon Kim (NJ Atty. ID #026122011)
  KIM LAW FIRM LLC
  411 Hackensack Avenue, Suite 701
  Hackensack, New Jersey 07601
  Tel. & Fax (201) 273-7117
  Attorneys for Plaintiff


  LESROY E. BROWNE, on behalf of himself and those
  similarly situated,                                          SUPERIOR COURT OF NEW JERSEY
                                                               LAW DIVISION: HUDSON COUNTY
         Plaintiff,
                             vs.                                         Civil Action
  NATIONAL COLLEGIATE STUDENT LOAN TRUST
  A/K/A NATIONAL COLLEGIATE MASTER
                                                                   Docket No. HUD-L-1598-21
  STUDENT LOAN TRUST I; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2003-1;
  NATIONAL COLLEGIATE STUDENT LOAN TRUST                         CERTIFICATE OF SERVICE
  2004-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2004-2; NATIONAL COLLEGIATE STUDENT
  LOAN TRUST 2005-1; NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2005-2; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2005-3;
  NATIONAL COLLEGIATE STUDENT LOAN TRUST
  2006-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2006-2; NATIONAL COLLEGIATE STUDENT
  LOAN TRUST 2006-3; NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2006-4; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2007-1;
  NATIONAL COLLEGIATE STUDENT LOAN TRUST
  2007-2; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2007-3 AND NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2007-4; WILMINGTON
  TRUST COMPANY AS TRUSTEE FOR NATIONAL
  COLLEGIATE STUDENT LOAN TRUST; U.S. BANK,
  N.A. IN ITS ROLE AS SPECIAL SERVICER FOR THE
  NATIONAL COLLEGIATE STUDENT LOAN TRUST;
  TRANSWORLD SYSTEMS, INC.; and JOHN DOES 1
  to 15; and a class of Defendants similarly situated to the
  Defendant, National Collegiate Student Loan Trust.

         Defendants.




                                                Page 1 of 2
       HUD-L -001598-21 04/21/2022 10:09:52 PM Pg 2 of 2 Trans ID: LCV20221627459
Case 2:22-cv-02713-MCA-JSA Document 8-1 Filed 05/19/22 Page 107 of 107 PageID: 254




          I hereby certify that on this 21st day of April 2022, I caused a true and correct copy of the

   First Amended Class Action Complaint and Jury Demand to be served on this date via electronic

   mail, and First-Class Mail:


                                      Christopher B. Fontenelli, Esq.
                                       Gregory T. Casamento, Esq.
                                        R. James DeRose III, Esq.
                                       Andrew M. Braunstein, Esq.
                                            LOCKE LORD LLP
                                             Brookfield Place
                                       200 Vesey Street, 20th Floor
                                       New York, New York 10281

                                        J. Matthew Goodin, Esq.
                                            LOCKE LORD LLP
                                   111 South Wacker Drive, Suite 4100
                                         Chicago, Illinois 60606

      Attorneys for Defendants National Collegiate Student Loan Trust 2003-1, National Collegiate
     Student Loan Trust 2004-1, National Collegiate Student Loan Trust 2004-2, National Collegiate
     Student Loan Trust 2005-1, National Collegiate Student Loan Trust 2005-2, National Collegiate
     Student Loan Trust 2005-3, National Collegiate Student Loan Trust 2006-1, National Collegiate
     Student Loan Trust 2006-2, National Collegiate Student Loan Trust 2006-3, National Collegiate
     Student Loan Trust 2006-4, National Collegiate Student Loan Trust 2007-1, National Collegiate
     Student Loan Trust 2007-2, National Collegiate Student Loan Trust 2007-3, National Collegiate
   Student Loan Trust 2007-4, National Collegiate Student Loan Trust 2009-1, and National Collegiate
                                     Master Student Loan Trust I


                                                        /s/ Yongmoon Kim
                                                        Yongmoon Kim
  DATED: April 21, 2022




                                                 Page 2 of 2
